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CONFIDENTIAL
                                                                    FINAL




                       PRECEDENT AGREEMENT

                             By and Between

                      Midship Pipeline Company, LLC

                                  and

                       Gulfport Energy Corporation

                          Dated: March 15, 2017
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CONFIDENTIAL
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                                  PRECEDENT AGREEMENT

       This Precedent Agreement (this “Agreement”) is made and entered into as of March 15,
2017 (“Effective Date”) by and between Midship Pipeline Company, LLC (“Transporter”), a
Delaware limited liability company, and Gulfport Energy Corporation (“Shipper”), a Delaware
Corporation.

        WHEREAS, Transporter and Shipper may be referred to individually as a “Party” or
collectively as the “Parties”;

        WHEREAS, Shipper, intending to commit to the Project as a Foundation Shipper (as
such terms are defined herein), desires to have Transporter develop and construct the Project to
provide natural gas transportation solution for its natural gas production from the SCOOP and
STACK areas in order to access more desirable markets and is willing to enter into firm
transportation commitments on the terms and conditions set forth herein to make it economically
feasible for Transporter to commit to building the Project;

        WHEREAS, Transporter is developing a natural gas transmission pipeline system (the
“Project” as more fully described in Exhibit “G” attached hereto), which shall include facilities
for the transportation of natural gas in interstate commerce from certain receipt points located in
Oklahoma to certain delivery points in Oklahoma, Texas and/or Louisiana (collectively the
“Project Facilities”), as such Project is more fully described in the Open Season terms and
related materials;

       WHEREAS, Transporter will hold an open season (“Open Season”, and a draft copy of
the Open Season terms in substantially the form to be used by Transporter to conduct the Open
Season is attached as Exhibit F hereto) in connection with the Project to offer firm natural gas
transportation service utilizing the capacity on the Project Facilities for up to a total of 1,400,000
dekatherms per day (“Dth/day”) (such capacity, the “Project Capacity”);

       WHEREAS, Shipper desires to obtain firm transportation service on the Project Capacity
(the “Firm Service”) in an amount up to the Transportation Quantity (as defined below in
Section 1(G) of this Agreement) and become a “Foundation Shipper” on the Project with all of
the benefits afforded to such status;

        WHEREAS, Shipper acknowledges that the rendition by Transporter of the Firm Service
as requested by Shipper will require Transporter to construct and/or acquire the Project
Facilities;

       WHEREAS, Shipper desires to obtain Firm Service in accordance with the terms and
conditions hereof; and

        WHEREAS, the Parties agree that the execution of this Agreement by Shipper shall
constitute a qualifying bid in accordance with the terms of the Open Season.

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       NOW, THEREFORE, in consideration of the mutual covenants and agreements
contained herein, Transporter and Shipper agree as follows:

1.    The Firm Service

      Subject to the satisfaction of the terms and conditions of this Agreement and any terms
      and conditions that may be imposed by the Federal Energy Regulatory Commission
      (“Commission” or “FERC”), Transporter shall construct and/or obtain the Project
      Facilities and render the Firm Service as follows:

      A.     Service Agreement

             Shipper, having committed to at least 175,000 Dth/day of Firm Service for the
             below defined Primary Term of ten (10) years, is agreed to be deemed to be a
             Foundation Shipper for all purposes under the Open Season and this Agreement,
             as well as the FTS Agreement and the Negotiated Rate Agreement, as both terms
             are defined herein below.

             The Firm Service shall be provided pursuant to the terms of a gas transportation
             agreement (the “FTS Agreement”) under Rate Schedule FTS of Transporter’s
             FERC Gas Tariff (as such FERC Gas Tariff may be amended from time to time,
             the “Tariff”) which FTS Agreement shall be in a form substantially similar to
             Exhibit A, and in all material respects consistent with the terms of this Precedent
             Agreement. The Firm Service shall also be provided pursuant to the terms of a
             negotiated rate firm transportation agreement (“Negotiated Rate Agreement”)
             under which the transportation rates will remain in effect for a fixed contract term
             without regard to Transporter’s maximum or minimum applicable Tariff rates;
             provided, however, at no time during the term of the FTS Agreement will
             Transporter, or its successors and assigns, propose any terms and conditions of
             service to any shipper which will have a material adverse impact on the Firm
             Service to be rendered to Shipper under the FTS Agreement. The FTS Agreement
             and the Negotiated Rate Agreement shall be referred to collectively as the
             “Service Agreement.”

      B.     Commencement Date

             Transporter shall provide Shipper written notice at least thirty (30) days in
             advance of the date on which Firm Service will commence under the FTS
             Agreement. Unless Transporter and Shipper amend this Agreement to state
             otherwise, the Firm Service shall commence on the later of, subject to the last
             sentence of this Section 1(B): (i) April 1, 2019; or (ii) as applicable, either (a) the
             date on which the Project Facilities are placed in service, if such date is the first


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        day of the applicable calendar month, or (b) if the Project Facilities are placed in
        service on a day that is not the first day of the calendar month, the first day of the
        next calendar month (“Commencement Date”). For the avoidance of doubt, the
        Commencement Date hereunder shall not occur unless and until Transporter is
        able to provide Firm Service for Shipper’s Transportation Quantity from each
        Primary Receipt Point to each Primary Delivery Point under Shipper’s Service
        Agreement.

C.      Primary Term; Extensions; Right of First Refusal

     i. The “Primary Term” of the Service Agreement shall commence on the
        Commencement Date and shall continue in full force and effect for a period of ten
        (10) years after the Commencement Date.

     ii. Transporter hereby grants Shipper the right to negotiate an extension of the
         Primary Term during the last year of the Primary Term in accordance with this
         subsection. Specifically, if Shipper desires to change or modify all or a portion of
         the Firm Service under the Service Agreement (e.g., rates, Term, TQ, receipt and
         delivery points), then at least nine (9) months prior to the expiration of the
         Primary Term, Shipper shall have the right to notify Transporter in writing of its
         intent to renegotiate the Service Agreement. If Shipper elects to renegotiate the
         Service Agreement and notifies Transporter of same, then upon receipt of
         Shipper’s notice, the Parties shall enter into a negotiation period of no greater than
         90 days from Transporter’s receipt of Shipper’s notice. The Parties will use good
         faith efforts to negotiate an extension of Shipper’s Service Agreement with the
         requested changes to the Firm Service for such extension. If the Parties agree to
         extend the Primary Term and modify any other terms of the Firm Service under
         the Service Agreement, then the Parties will execute a replacement Service
         Agreement (including both the FTS Agreement and Negotiated Rate Agreement,
         as necessary) reflecting the modified terms thereto (“Negotiated Service
         Agreement”), and the prior Service Agreement shall, upon execution of the
         Negotiated Service Agreement, be of no further force or effect.

     iii. If the Parties fail to execute a Negotiated Service Agreement within the 90-day
          period described in Section 1(C)(ii) above or if Shipper elects not to renegotiate
          the Service Agreement, then Transporter hereby grants Shipper the right to renew
          the Service Agreement for up to five (5) additional years ("First Renewal
          Term"). If Shipper desires to extend the term of the Service Agreement for the
          First Renewal Term at the then current transportation rate(s), it shall notify
          Transporter in writing of its election at least six (6) months prior to the expiration
          of the Primary Term. Shipper’s election notice shall specify the term of the First
          Renewal Term, the applicable TQ, and Primary Receipt Point(s) and Primary

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     Delivery Point(s). Should the Primary Receipt or Primary Delivery Points be
     different from Shipper’s current Primary Receipt and Primary Delivery Points
     under the FTS Agreement, then such changes shall be submitted in accordance
     with Transporter’s Tariff and will be subject to available capacity. The TQ on the
     First Renewal Term will be up to but no greater than the TQ at the time the
     renewal rights are exercised. The First Renewal Term may not be less than one
     (1) year. If Shipper declines to renew the Service Agreement for the First
     Renewal Term, then Transporter hereby grants Shipper those ROFR rights as
     described in Section 1(C)(v) below.

  iv. If the Parties have executed either a (x) Service Agreement for the First Renewal
      Term pursuant to Section 1(C)(iii) above or (y) Negotiated Service Agreement
      pursuant to Section 1(C)(ii) above, then Transporter hereby grants Shipper the
      right to negotiate an extension of Shipper’s Firm Service during the last year of
      the First Renewal Term or the last year of the Negotiated Service Agreement, as
      applicable, in accordance with the following terms.

     (a) If Shipper has agreed to a Negotiated Service Agreement, and Shipper desires
     to negotiate an extension of the Firm Service under the same, including a change
     to all or a portion of the terms of such Firm Service (e.g., rates, Term, TQ, receipt
     and delivery points), then at least nine (9) months prior to the expiration of the
     Negotiated Service Agreement, Shipper shall notify Transporter in writing of its
     intent to renegotiate the said agreement. Upon receipt of Shipper’s notice, the
     Parties shall enter into a negotiation period of no greater than 90 days from
     Transporter’s receipt of Shipper’s notice. The Parties will use good faith efforts to
     negotiate an extension of the Negotiated Service Agreement with the requested
     changes to the Firm Service for such extension. If the Parties agree to so extend
     the term and modify any other terms of the Firm Service under the Negotiated
     Service Agreement, then the Parties will execute a replacement Negotiated
     Service Agreement (including both the FTS Agreement and Negotiated Rate
     Agreement, as necessary) reflecting the modified terms thereto, and the prior
     Negotiated Service Agreement shall, upon execution of the replacement
     Negotiated Service Agreement, be of no further force or effect. If Shipper
     declines to renew the Negotiated Service Agreement, then Transporter hereby
     grants Shipper those ROFR rights as described in Section 1(C)(v) below.

     (b) If Shipper and Transporter agreed to a Negotiated Service Agreement in
     accordance with the above Section 1(C)(ii) or agreed to a First Renewal Term in
     accordance with the above Section 1(C)(iii), and the Parties fail to execute a
     replacement Negotiated Service Agreement within the ninety (90) day period
     described in Section 1(C)(iv)(a) above or if Shipper elects not to negotiate the
     Negotiated Service Agreement, and Shipper desires to extend the term of the
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        Service Agreement for a second renewal term of up to five (5) additional years
        (the “Second Renewal Term”, and each of the First Renewal Term and the
        Second Renewal Term, the “Renewal Terms”) at the then current transportation
        rate(s), it shall notify Transporter in writing of its election at least six (6) months
        prior to the expiration of the First Renewal Term. Shipper’s election notice shall
        specify the term of the Second Renewal Term, the applicable TQ, and Primary
        Receipt Point(s) and Primary Delivery Point(s). Should the Primary Receipt or
        Primary Delivery Points be different from Shipper’s current Primary Receipt and
        Primary Delivery Points under the FTS Agreement, then such changes shall be
        submitted in accordance with Transporter’s Tariff and will be subject to available
        capacity. The TQ on the Second Renewal Term will be up to but no greater than
        the TQ at the time the renewal rights are exercised. The Second Renewal Term
        may not be less than one (1) year. If Shipper declines to renew the Service
        Agreement for the Second Renewal Term, then Transporter hereby grants Shipper
        those ROFR rights as described in Section 1(C)(v) below.

     v. Transporter hereby grants Shipper a contractual right of first refusal (“ROFR”)
        upon the expiration of the Primary Term, including any extension thereof in
        accordance with this Section 1(C). For the sake of clarity, the ROFR granted by
        Transporter to Shipper hereunder consists of the rights set forth in the General
        Terms and Conditions of Transporter’s Tariff in the relevant section regarding
        “Right of First Refusal” as the same is approved and in effect during the Term,
        and shall apply to Shipper notwithstanding the fact that Shipper will not pay
        maximum tariff rates under the Service Agreement.

     vi. The Primary Term, First Renewal Term (if applicable), Second Renewal Term (if
         applicable), and any extension pursuant to any applicable ROFR shall collectively
         be referred to herein as the “Term.”

D.      Firm Service Rate

        i.      Rate Election.

                Upon execution of this Agreement, Shipper must select one of the
                following rate options (indicated by an “X” in the space provided):

                X             Shipper selects for the Primary Term of the FTS
                Agreement the fixed negotiated rate for the Firm Service as reflected
                below and to be reflected in the final Negotiated Rate Agreement, the
                form of which is attached as Exhibit B hereto.

                _______      Shipper selects for the Primary Term of the FTS
                Agreement the recourse rate for the Firm Service, which shall be the

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            applicable reservation and commodity rates, and any other applicable
            charges and surcharges set forth in Transporter’s Tariff.

     ii.    Applicable Rate.

            The Negotiated Rate Agreement shall specify a negotiated reservation
            charge of $0.35 Dth/day, as the same may be adjusted from time to time
            hereunder and under the Negotiated Rate Agreement, (the “Negotiated
            Reservation Charge”). The Negotiated Rate Agreement shall also
            provide that in the event that the total aggregate volume reflected in all
            shippers’ firm service commitments to the Project at the time of the
            Commencement Date equals or exceeds 1,000,000 Dth/day, the
            Negotiated Reservation Charge will be decreased by $0.01.

            To the extent Transporter’s fuel retainage percentage exceeds 0.8% in a
            given calendar year during the Term, the Negotiated Rate Agreement
            shall provide for an adjustment to the Negotiated Reservation Charge for
            the next following calendar year by an appropriate percentage to
            compensate Shipper for the fuel retainage obligation above the threshold
            set forth in this sentence, based on the average Monthly Bidweek Spot Gas
            Prices for Oneok, Okla. under the heading “Midcontinent” as published by
            Platts Inside FERC Gas Market Report for such prior year. In the event
            said index is discontinued, the Parties shall agree upon a replacement
            index. The Negotiated Reservation Charge shall apply to Shipper’s
            deliveries to secondary delivery points on the Project, made in accordance
            with the applicable provisions of the Tariff.

     iii.   Negotiated Rate Adjustment for Overrun Volumes.

            The final Negotiated Rate Agreement shall provide for an adjustment to
            the Negotiated Reservation Charge in accordance with this Section.
            Specifically, in the event that:

                    (a) in one or more calendar year(s) during the Term (other than
                   either of the last two years thereof regardless of any subsequent
                   extension), Shipper transports aggregate volumes on the Project
                   from any receipt point to any delivery point in excess of the TQ
                   multiplied by the number of days in the relevant calendar year,
                   (such amount for a given calendar year, an “Annual Overrun
                   Quantity”), and

                    (b) in any other calendar year during the Term (other than the last
                   year thereof regardless of any subsequent extension) that follows a
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                    year in which there was an Annual Overrun Quantity amount
                    available, Shipper transports aggregate volumes on the Project
                    from any receipt point to any delivery point less than the TQ
                    multiplied by the number of days in the relevant calendar year
                    (such amount for a given calendar year, an “Annual Underrun
                    Quantity”), then

                     (c) during the year of the Term that immediately follows the year
                    of the Annual Underrun Quantity, the Negotiated Reservation
                    Charge shall be reduced by an appropriate percentage that results
                    in a reduction to the aggregate reservation charges paid by Shipper
                    during such year for the TQ multiplied by the number of days in
                    that year that is consistent with the following sentence. The
                    reduction in Shipper’s aggregate reservation charges for the TQ in
                    the year following the year in which there has been an Annual
                    Underrun Quantity shall be the lesser of: (x) the product of the
                    Annual Underrun Quantity multiplied by the unrevised Negotiated
                    Reservation Charge, and (y) the product of the aggregate of the
                    accumulated Annual Overrun Quantity multiplied by the unrevised
                    Negotiated Reservation Charge. To the extent that after such
                    determination there remains any Annual Overrun Quantity, such
                    balance shall be carried forward to be applied the next time that
                    there is an Annual Underrun Quantity, together with any additional
                    Annual Overrun Quantity that may have arisen prior to such time.

E.   Most Favored Nations

      If, any time and from time to time during the first five (5) years of the Primary
      Term of the Service Agreement, Transporter agrees to provide any shipper a rate
      or rates for firm or interruptible transportation service utilizing some or all of the
      Project Facilities in the applicable rate zone(s) in which Shipper’s Primary
      Receipt Point(s) and Primary Delivery Point(s) are located (other than a
      negotiated rate for another Foundation Shipper that is the result of a temporary
      rate adjustment to account for an Annual Overrun credit in accordance with such
      Foundation Shipper’s negotiated rate agreement) and such third party rate is less
      than the Negotiated Reservation Charge, then Transporter will (x) immediately
      notify Shipper in writing of such agreement, (y) provide Shipper with the
      negotiated rate terms agreed to with the third party shipper within 5 business
      days following the execution thereof in order for Shipper to verify whether
      Shipper’s rights are trigger by such agreement, and (z) offer Shipper the same
      lower rate or rates as of the date that Transporter begins providing the lower rate

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      or rates to the other shipper for the same term that Transporter has agreed to
      provide to the other shipper but not to exceed the Primary Term of the Service
      Agreement. This most favored nations provision shall apply regardless of: (i) the
      type of rate or rates offered to the other shipper (e.g., negotiated rate, discounted
      rate, firm service rate, interruptible service rate, recourse rate, or otherwise); (ii)
      the classification of the other shipper offered the lower rate or rates (e.g.,
      Foundation Shipper, Open Season shipper, or otherwise); (iii) whether the receipt
      point(s) or the delivery point(s) for the other shipper are the same as those listed
      in Shipper’s Service Agreement or are located anywhere else on the Facilities
      within the applicable rate zone(s) as set forth above; (iv) the duration of the
      contracted primary term for the other shipper; or (v) the maximum daily quantity
      the other shipper has committed to on the Facilities or any expansion thereof. If
      Shipper is willing to accept the offer of the revised rate or rates (including any
      rate related formula) as the other shipper (without regard to, and without altering,
      the firm character of Shipper’s service), then Shipper shall notify Transporter
      within ten (10) business days of Shipper’s receipt of such offer, and the Parties
      will enter into an amendment to this Agreement and/or the Service Agreement,
      as applicable, at the lower rate or rates.

F.   Future Expansions

     Should Transporter elect in the future to expand the Project Facilities for mainline
     service on a forward haul basis at any time prior to the date that is four (4) years
     from and after the Commencement Date, Shipper shall have a right to participate
     in that expansion project as set forth herein (such project, an “Expansion
     Project”). Transporter shall notify Shipper prior to holding an open season for an
     Expansion Project and, in consideration of Shipper’s commitment hereunder,
     Shipper shall have the right to participate in such Expansion Project with the
     lowest rate applicable to shippers thereunder, and the right to receive any benefits
     that attach to shippers committing to service on such Expansion Project, provided
     that Shipper subscribes to at least 25,000 Dth/day in that Expansion Project,
     subject however in all cases to applicable legal and regulatory requirements.
     Nothing in this Section 1(F) shall require or otherwise create an obligation for
     Transporter to expand or enlarge the Project Facilities.

G.   Transportation Quantity

     i.      Transporter shall transport and deliver for Shipper on a firm basis up to
             200,000 Dth/day (“Transportation Quantity” or “TQ”), from the
             Primary Receipt Point(s) identified in Section 1(H) to the Primary
             Delivery Point(s) identified in Section 1(I)) (for the avoidance of doubt, up
             to the full TQ at each individual Primary Receipt Point and Primary

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             Delivery Point; provided, however, that subject to the Tariff, on any given
             day neither the combined receipts to the Primary Receipt Point(s) nor the
             combined deliveries to the Primary Delivery Point(s) shall exceed the
             TQ). The maximum allowable operating pressure for the Project, to be
             reflected in the Tariff, shall be 1,440 psig.

      ii.    Transporter shall commence early deliveries of up to the TQ from the
             Primary Receipt Points to the Primary Delivery Point at Bennington (as
             set forth below) to the extent the facilities necessary to effect such
             deliveries are available prior to the Commencement Date. Such pre-
             Commencement Date transportation service shall be on an interruptible
             basis (subject to an interruptible service agreement in the form set forth in
             the Tariff) and the rate for such service for Shipper and other Foundation
             Shippers only shall be a negotiated rate of $0.15 per Dth/day. The receipt
             point for such interruptible service shall be the Primary Receipt Point(s)
             set forth in Section 1(H) below, and the delivery point shall be any
             available delivery point on the Project Facilities. Such service, to the
             extent it is available, shall be provided under a service agreement and
             negotiated rate agreement to be executed by Transporter and Shipper
             which shall have a term ending on or prior to the Commencement Date.

      iii.   Commencing on the date on which Transporter accepts a FERC Certificate
             (as defined in Section 4(B)(i) below) for the Project and continuing until
             sixty (60) days prior to the Commencement Date, Shipper shall have the
             right, by written notice to Transporter, to increase its TQ by up to 100,000
             Dth/d for the Primary Term, subject to capacity availability as further
             provided in the next sentence. If Shipper exercises this right it has under
             this Section 1(G)(iii) and Transporter determines that there is available
             capacity sufficient to grant the request in accordance with the terms of the
             Tariff (whether for the full amount requested by Shipper or some lesser
             amount in the event that there are more requested increases in quantity
             than Transporter can accommodate, in which case the requesting parties’
             requests for an increase in their respective TQ shall be prorated based on
             the percentage of the amount requested by each shipper over the total
             amount of increase requested by all requesting shippers), and the Parties
             have executed the Service Agreement, then Transporter and Shipper agree
             that they shall, prior to the Commencement Date, execute a replacement
             Service Agreement (including for the avoidance of doubt both the FTS
             Agreement and the Negotiated Rate Agreement, to the extent necessary)
             reflecting the adjusted TQ, and the prior Service Agreement shall upon


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            such execution be of no further force or effect. In the event that the
            exercise of such right to increase the TQ by Shipper or other shippers,
            either individually or in the aggregate, triggers a rate reduction as set forth
            in Section 1(D)(ii), then the other shippers that qualify as a Foundation
            Shipper will similarly have the right to enter into a new Service
            Agreement to reflect the applicable decrease in the Negotiated Reservation
            Charge.

      iv.   Notwithstanding anything set forth herein to the contrary, prior to the
            Commencement Date, Shipper may not transfer, release to another
            unaffiliated shipper, or assign, or convey all or any portion of its TQ to
            another unaffiliated shipper, unless the total subscribed capacity on the
            Project Facilities is equal to or greater than 1,000,000 Dth/day of Firm
            Service on a collective basis, and in such case any such assignment shall
            be subject to Section 8 hereof; nor shall Shipper reduce its subscribed
            capacity prior to the Commencement Date, to the extent it may otherwise
            do so in accordance with the terms of this Agreement, if the total
            subscribed capacity on the Project Facilities, after any such reduction,
            would be less than 1,000,000 Dth/day of Firm Service on a collective
            basis; provided, however, that Shipper may transfer, release, assign, or
            convey all or any portion of its TQ prior to the Commencement Date if
            that shipper sells or transfers substantially all of its assets, or if the
            transfer, assignment, release or conveyance is in connection with the sale
            or transfer by Shipper of the producing properties associated with such
            capacity, as provided in Section 8. Shipper may, within one hundred
            twenty (120) days of the Effective Date, elect to reduce its TQ by up to
            50,000 Dth/day, only to the extent that such reduction would not cause the
            total aggregate firm transportation service commitments to the Project to
            be less than 1,000,000 Dth/day.

      v.    Following such one hundred twenty day period referred to in subsection
            (iv) above, and at any time and from time to time thereafter until the date
            that is thirty (30) days’ prior to the Commencement Date (“Extended
            Period”), Shipper may elect to reduce its TQ by up to 50,000 Dth/day, but
            only to the extent that such reduction is offset by additional shipper
            volume commitments to the Project during the Extended Period, such that
            the total aggregate shipper firm service commitments to the Project are not
            reduced below the aggregate commitments that existed prior to Shipper’s
            reduction and prior to the addition of such additional shipper(s)’ volume
            commitment(s). If additional shipper commitments occur during the


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             Extended Period, then Transporter shall provide Shipper and the other
             Foundation Shippers with written notice within five (5) business days of
             each such additional shipper commitment to the Project. Within ten (10)
             business days of the notice in the previous sentence, Shipper shall provide
             written notice to Transporter of its election to make a reduction, and the
             amount of such reduction. If Shipper elects to reduce its TQ and no other
             Foundation Shipper elects to reduce its TQ, then Shipper may reduce its
             TQ in the amount so elected subject to the provision set forth herein. If a
             reduction is elected by both Shipper and one or more other electing
             Foundation Shippers, then such reductions between Shipper and the other
             electing Foundation Shippers shall be subject to allocation on a pro rata
             basis by Transporter based on the amount of the new shipper volume
             commitment(s).

H.    Primary Receipt Point(s)

      The Primary Receipt Point quantities shall be as follows:

                                                              Maximum
         Receipt Point             County            ST        Receipt
                                                              Quantity

      WEX Grady               Grady                OK         200,000
                                                              Dth/d

      Bidirectional meter to Kingfisher,           OK         200,000
      be determined prior to Canadian,        or              Dth/d
      execution of Service Grady
      Agreement by mutual
      agreement of Shipper
      and Transporter with
      Enable            Gas
      Transmission, Enable
      Oklahoma Intrastate
      Transmission,       or
      Oklahoma          Gas
      Transmission        in
      STACK area




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   I.     Primary Delivery Point(s)

          The Primary Delivery Point quantities shall be as follows:

                                                                       Maximum
           Delivery Point         County/Parish           ST           Delivery
                                                                       Quantity

        MEP Bennington          Bryan                  OK           200,000 Dth/d

        Gulf       Crossing Bryan                      OK           200,000 Dth/d
        Bennington

        NGPL 801                Carter                 OK           100,000 Dth/d

        NGPL Bennington         Bryan                  OK           100,000 Dth/d



J. Additional Receipt/Delivery Points

   Shipper may request in writing that Transporter add new receipt and/or delivery points to
   be considered as Primary Receipt Point(s) or Primary Delivery Point(s) (as the case may
   be) provided that any such points are located on the Project as described and approved in
   the FERC Certificate, and Transporter shall use Commercially Reasonable Efforts to
   accommodate any such requests subject to applicable regulatory requirements and
   approvals and to the applicable provisions of the Tariff from and after the
   Commencement Date, provided that the establishment of such receipt and/or delivery
   points does not materially interfere with the operations of the Project Facilities; provided
   further, that such requesting Shipper(s) reimburses Transporter for the actual cost of the
   facilities necessary to establish such receipt and/or delivery points, plus a tax gross up for
   such facilities’ costs, to the extent appropriate, to be reasonably agreed upon by the
   Parties, which reimbursement shall be on a pro-rata basis if and to the extent that such
   facilities would include the primary receipt or primary delivery point of any other firm
   shipper(s) on the Project, which other firm shipper(s) provide their pro rata share of such
   costs. Except for such reimbursement of the actual cost of the facilities necessary to
   establish such receipt and/or delivery points, the addition of one or more receipt and/or
   delivery points hereunder shall not result in any increase to any rate, fee, charge or any
   other amount paid or to be paid by Shipper hereunder.

K. Gas Quality Specifications

   In order to avoid any gas interchangeability issues with interconnecting downstream
   natural gas pipelines, Transporter shall include in its pro forma Tariff a complete set of

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     gas quality specifications that will meet the most stringent gas quality specifications of all
     interconnecting downstream natural pipelines at the time of the filing of the Certificate
     Application. If, at any time and from time to time during the Term, a certain gas quality
     specification in the Tariff does not meet the corresponding gas specification in an
     interconnecting downstream pipeline, then Transporter, at its sole cost and expense, shall
     use Commercially Reasonably Efforts to seek and obtain from such interconnecting
     pipeline a waiver of the gas quality specification at issue, and if a waiver cannot be
     obtained, to adjust its own gas quality specifications to match the downstream pipeline, in
     either case, for the Term. Transporter shall provide Shipper with at least ninety (90) days
     advance notice of any change to the gas quality specifications being made or proposed by
     an interconnecting downstream pipeline, as well as Transporter’s own gas quality
     specifications in the event that it was unable to secure the waiver from the
     interconnecting pipeline. In addition, Transporter shall keep Shipper advised of all efforts
     to secure a waiver to such change by the interconnecting pipeline. Transporter shall use
     Commercially Reasonable Efforts (as defined in Section 9(M) below) to ensure that any
     such waiver it obtains remains in effect for the remainder of the Term.

2.   The Open Season

     Execution of this Agreement by Transporter shall be deemed to be an award of the TQ in
     Section 1(G) to Shipper without proration subject to the terms of the Open Season and
     this Section 2(A). Transporter reserves the right, but shall not be required, to conduct
     additional open season(s) to market unsubscribed capacity on the Project Facilities.
     Notwithstanding anything to the contrary herein and subject to the other applicable
     provisions of this Agreement and Shipper’s rights to terminate this Agreement,
     Transporter shall not be in breach of its obligations under this Agreement if Shipper’s TQ
     or rights as a Foundation Shipper are required to be adjusted or modified by Transporter
     in order to comply with any applicable order of the Commission; provided further that in
     the event that Transporter is required to prorate the award of available Project Capacity as
     a result of the Open Season, available Project Capacity will be reduced first for all
     shippers that do not qualify as Foundation Shippers, and then finally for Foundation
     Shippers. In such event, available Project Capacity will be reduced among shippers in
     the same category of shipper based upon the highest net present value of each prospective
     shipper’s binding firm transportation commitment, as reasonably determined by
     Transporter.

3.   Shipper Obligations

     A.     Shipper Internal Approvals

            Shipper shall use Commercially Reasonable Efforts to obtain all approvals from
            its executive management and/or board of directors necessary for the

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      consummation of all of the agreements contemplated by this Agreement
      (“Shipper Internal Approvals”) by no later than the date that is thirty (30)
      calendar days following the Effective Date. Shipper shall promptly provide
      written notice to Transporter that Shipper has received all Shipper Internal
      Approvals.

B.    Support for Transporter’s Regulatory Filings

      Subject to Transporter’s satisfaction of the requirements set forth in Sections
      4(B)(iii) and 4(C) below, Shipper agrees that it will not oppose Transporter’s
      Certificate Application and Transporter’s filing of Shipper’s Negotiated Rate
      Agreement (subject to the proviso at the end of this section), and upon
      Transporter’s reasonable request in writing at least seven (7) business days before
      any applicable deadline for comment or interventions, Shipper will use
      Commercially Reasonable Efforts to intervene and file comments in support of
      Transporter’s Certificate Application and Transporter’s filing of Shipper’s
      Negotiated Rate Agreement, provided such application(s) and filing(s) by
      Transporter are materially consistent with this Agreement, the Negotiated Rate
      Agreement, and the draft Certificate Application and pro forma Tariff reviewed
      by Shipper pursuant to Section 4(C); and provided further that nothing herein
      shall preclude Shipper from addressing any matter raised by Shipper as provided
      in Section 4(C) and not resolved to Shipper’s reasonable satisfaction.

C.    Shipper’s Creditworthiness

      As a condition of Transporter’s execution of this Agreement, the Service
      Agreement and any other related agreements, Shipper shall satisfy the following
      credit assurance provisions as of the Effective Date of this Agreement, and shall
      have a continuing obligation to satisfy the credit assurance provisions of this
      Agreement throughout the term of this Agreement, the Service Agreement and
      any other related agreements as may be in effect from time to time.

      i.     Creditworthiness Defined

             Shipper shall at all times from the Effective Date be creditworthy, or
             provide the credit assurance contemplated herein. Shipper shall be
             deemed “creditworthy” if it has and maintains a long-term senior
             unsecured debt rating from either (1) Moody’s Investors Service, Inc. or
             an applicable successor agency (“Moody’s”) of Baa3 or higher or (2)
             Standard & Poor’s or an applicable successor agency (“S&P”) of BBB- or
             higher. Alternatively, Shipper may be accepted as creditworthy by
             Transporter if Transporter determines that, notwithstanding the failure to
             meet or maintain the rating requirements in this Section 3(C)(i), the
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            financial position of Shipper (or an entity that guarantees all of Shipper’s
            payment obligations) is and remains reasonably acceptable to Transporter
            during the term of this Agreement and the Service Agreement.

      ii.   Credit Assurances

            Beginning on the Effective Date, if at any time Shipper is not creditworthy
            pursuant to Section 3(C)(i) of this Agreement, then, Transporter shall have
            the right to demand that Shipper provide, and Shipper shall provide, credit
            assurance within ten (10) business days after receipt of written notice from
            Transporter, in the form of and at Shipper’s option: (i) an irrevocable
            standby letter of credit, in a form substantially similar to Exhibit D
            (“Letter of Credit”), from a Qualified Institution (as defined below); (ii)
            a guaranty (“Guaranty”) substantially in the form of Exhibit C from an
            entity that is creditworthy under the standards applicable to Shipper as set
            forth in Section 3(C)(i) above; (iii) a cash security deposit to be placed in a
            third party escrow account (“Deposit”) pursuant to a form of escrow
            agreement to be negotiated in good faith and executed and delivered by
            the parties and the relevant third party escrow agent; or (iv) a mutually
            agreeable alternative form of credit assurance. In the event that Shipper
            provides credit assurance in the form of either a Letter of Credit or a
            Deposit, the amount of such Letter of Credit or Deposit shall be equal to
            the following, as the case may be: (1) prior to the Commencement Date,
            the number of months of reservation charges under the Service Agreement
            based on Shipper’s TQ as set forth herein as shown in the table
            immediately below this subsection; (2) at any time following the
            Commencement Date during the Primary Term, the lowest of (a) twenty-
            four months of reservation charges under the Service Agreement based on
            Shipper’s TQ as set forth herein, or (b) of the number of months of
            reservation charges for the remaining months of the Primary Term; or (3)
            at any time during a Renewal Term or an extension to the Term, ninety
            (90) days of reservation charges under the Service Agreement based on
            Shipper’s TQ. The term “Qualified Institution” shall mean a major U.S.
            commercial bank, or the U.S. branch offices of a foreign bank, which has
            assets of at least $10 billion dollars and a credit rating of at least “A-” by
            S&P, or “A3” by Moody’s. If a Guaranty is provided, the Guaranty shall
            guarantee all payment obligations of Shipper under this Agreement and
            the Service Agreement. Transporter shall not make a claim against a
            Guaranty or draw against a Letter of Credit or Deposit except to the extent
            such draw is necessary to cover amounts that are due and owed by Shipper
            in accordance with the applicable provisions of this Agreement, the Tariff

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                        and/or under the Service Agreement, as applicable, and which amounts
                        have not been timely paid by Shipper in accordance with the terms hereof
                        or under the Service Agreement, as applicable.

Quarter     3/31/     6/30/   9/30/    12/31/    3/31/   6/30/    9/30/    12/31/    3/31/    6/30/
Ending      17        17      17       17        18      18       18       18        19       19
# of        1.4       1.9     4.2      5.1       6.8     20.6     24.0     24.0      24.0     24.0
months
of
reservati
on
charges


               iii.     Credit Assurance Effectiveness

                        Any credit assurance to be provided to Transporter pursuant to Section
                        3(C)(ii) shall continue in effect until (i) Shipper is deemed creditworthy as
                        defined in Section 3(C)(i) of this Agreement; (ii) the execution of a credit
                        agreement to replace this provision; (iii) the provision of another form of
                        credit assurance, as provided in Section 3(C)(ii); (iv) this Agreement is
                        terminated by either Party as provided for herein prior to the execution of
                        the Service Agreement, or (v) the end of the Term, and in the case of any
                        termination, full payment of all outstanding balances and charges has been
                        made.

               iv.      Failure to Provide Credit Assurance

                        The failure of Shipper to timely satisfy or maintain the creditworthiness or
                        credit assurance requirements set forth in this Section 3(C) shall in no way
                        relieve Shipper of any or all of its other obligations under this Agreement
                        and the Service Agreement, nor shall it affect Transporter’s right to seek
                        damages or performance hereunder or thereunder. Further, if prior to the
                        Commencement Date, Shipper fails to timely satisfy and maintain the
                        requirements of this Section 3(C), then Transporter may give written
                        notice to Shipper of such failure, and if such failure has not been cured
                        within fifteen (15) days, then Transporter may terminate this Agreement
                        and if applicable the Service Agreement.




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4.   Transporter Obligations

     A.    Transporter Shipper Internal Approvals

           Transporter shall use Commercially Reasonable Efforts to obtain all approvals
           from its executive management and/or board of directors necessary for the
           consummation of all of the agreements contemplated by this Agreement
           (“Transporter Internal Approvals”) by no later than thirty (30) calendar days
           following the Effective Date. Once Transporter has received all Transporter
           Internal Approvals, it shall promptly notify Shipper in writing of same.

     B.    Transporter Regulatory Authorizations

           i.     Obligation to Seek Transporter Regulatory Authorizations

                  Transporter shall use Commercially Reasonable Efforts to obtain all
                  necessary and final authorizations, consents and approvals, including all
                  necessary and final authorizations from federal, state and local authorities
                  having jurisdiction, including those of the Commission, including without
                  limitation any applicable certificate(s) of public convenience and necessity
                  (“FERC Certificate”), and of any state or federal court in which
                  Transporter seeks to exercise eminent domain or otherwise obtain rights or
                  access to land (collectively, all such foregoing approvals are referred to
                  herein as “Transporter Regulatory Authorizations”), on terms and
                  conditions acceptable to Transporter in its reasonable discretion, to install,
                  construct, acquire and/or secure the Project Facilities and to render the
                  proposed Firm Service pursuant to the terms and conditions specified
                  herein. For illustrative purposes, certain specific milestones for the
                  various steps involved in obtaining such Transporter Regulatory
                  Authorizations are listed on Exhibit E, provided that the dates on Exhibit
                  E are non-binding.

           ii.    Right to Seek Rehearing, Appeal, or Judicial Review

                  Nothing contained herein shall prevent Transporter from filing, amending,
                  or prosecuting applications for any Transporter Regulatory Authorizations
                  that it requires hereunder or seeking rehearing, appeal, or judicial review
                  of any unfavorable term or condition contained in any Transporter
                  Regulatory Authorization, including the FERC Certificate.

           iii.   Obligation to Provide Notice of Filings

                  Except to the extent a different notice requirement is prescribed elsewhere
                  in this Agreement, Transporter shall provide written notice to Shipper at

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             least seven (7) business days in advance of any filing for a Transporter
             Regulatory Authorization for which Transporter will seek Shipper’s
             support pursuant to Section 3(B) of this Agreement, together with a draft
             copy of the filing, and a copy of the filing when made marked to show
             changes from the draft.

C.    Obligation to Provide Shipper Opportunity to Review Certificate Application

      Transporter will furnish Shipper with a draft copy of the FERC Certificate
      application text and the public exhibits, including the pro forma Tariff, but not
      including the environmental resource reports or any non-public or critical energy
      infrastructure information (“CEII”) exhibits (“Certificate Application”) no less
      than twenty (20) business days prior to the date Transporter intends to file such
      Certificate Application to ensure said draft Certificate Application is materially
      consistent with this Agreement, the Service Agreement, and the pro forma Tariff.
      The pro forma Tariff shall include, among other things, gas quality specifications
      that will meet the most stringent gas quality specifications of all interconnecting
      natural gas pipelines and minimum receipt and delivery pressures that will allow
      Transporter to receive and redeliver Shipper’s gas into interconnecting natural gas
      pipelines in accordance with the terms and conditions hereunder. Shipper will
      notify Transporter within ten (10) business days after the date of receipt of such
      draft Certificate Application whether Shipper has any material objections to such
      draft Certificate Application, in which case Shipper shall describe the specific
      objectionable language. Transporter shall consider any such objections and, in its
      reasonable judgment, may revise such draft Certificate Application to address the
      Shipper’s objection(s). On or before the date of filing, Transporter shall provide
      Shipper with a copy of the Certificate Application marked to show all changes
      from the draft previously provided to Shipper. Transporter shall not make any
      material changes to the Certificate Application thereafter without prior notice to
      Shipper.

D.    Modification Based on Transporter Regulatory Authorizations

      In the event that FERC rejects or denies the application for the FERC Certificate
      in its entirety as filed by Transporter, Shipper may give written notice of
      termination of this Agreement to Transporter within fifteen (15) days of the
      rejection or denial of the FERC Certificate. During the ninety (90) day period
      following the issuance of such notice, the Parties shall negotiate in good faith in
      an attempt to reach agreement regarding a means to preserve the economic
      bargain set forth in this Agreement. If such agreement cannot be achieved in
      ninety (90) day period following the issuance of such notice, this Agreement shall
      terminate without either Party having any liability to the other Party on the

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           ninetieth (90th) day following issuance of the notice of termination by Shipper,
           unless prior to such date: (1) the Parties otherwise mutually agree in writing to an
           amendment to this Agreement or Service Agreement; (2) the Parties mutually
           agree in writing to extend the negotiation period; or (3) Shipper withdraws its
           previously submitted notice to terminate.

5.   Conditions Precedent, Termination, and Damages

     A.    Transporter Conditions Precedent

           Notwithstanding anything else in this Agreement to the contrary, Transporter’s
           obligation to construct, own, operate and/or acquire the Project Facilities, to
           execute the Service Agreement, and to render the Firm Service contemplated
           hereunder is subject to the fulfillment or waiver by Transporter of each of the
           following conditions precedent (each a “Transporter Condition Precedent” and
           collectively the “Transporter Conditions Precedent”):

           i.     Shipper Internal Approvals

                  Shipper shall provide written notice to Transporter on or before the date
                  that is thirty (30) calendar days following the Effective Date that Shipper
                  has obtained all Shipper Internal Approvals necessary for the
                  consummation of all agreements contemplated hereby.

                  If this Transporter Condition Precedent has not been satisfied or waived in
                  writing by Transporter by the date referred to in the previous sentence,
                  then, subject to Section 5(C), Transporter shall have the right to terminate
                  this Agreement, the Service Agreement and any other related agreements
                  without either Party having any liability to the other Party upon prior
                  written notice to Shipper; provided, however, that any such notice of
                  termination must be provided within thirty (30) days after the event giving
                  rise to Transporter’s right to terminate hereunder.

           ii.    Failure to Receive Notice of Internal Approvals from all Foundation
                  Shippers

                  Transporter shall have received written notice from Foundation Shippers
                  unaffiliated with Transporter whose Project commitments total at least
                  750,000 Dth/d of each such Foundation Shipper’s receipt of all required
                  internal approvals pursuant to its precedent agreement with Transporter no
                  later than thirty (30) days after the execution of the latest of the relevant
                  executed Foundation Shipper precedent agreements. Notwithstanding
                  Section 5(C), Transporter shall promptly advise Shipper of the

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             satisfaction, waiver, or failure of this Condition Precedent following the
             deadline set forth above.

             If this Transporter Condition Precedent has not been satisfied or waived in
             writing by Transporter, then, subject to Section 5(C), Transporter shall
             have the right to terminate this Agreement, the Service Agreement and any
             other related agreements without either Party having any liability to the
             other Party upon prior written notice to Shipper; provided, however, that
             any such notice of termination must be provided within thirty (30) days
             after the event giving rise to Transporter’s right to terminate hereunder.

      iii.   Failure to Obtain Transporter Regulatory Authorizations or other
             Regulatory Authorizations

             All Transporter Regulatory Authorizations necessary to construct and/or
             acquire and secure the Project Facilities and to render the proposed Firm
             Service pursuant to the terms and conditions specified herein (not
             including related to the filing of the Negotiated Rate Agreement terms)
             have been received by Transporter by no later than July 1, 2019, and each
             shall be satisfactory to Transporter, in Transporter’s reasonable discretion.

             If this Transporter Condition Precedent has not been satisfied or waived in
             writing by Transporter, then, subject to Section 5(C), Transporter shall
             have the right to terminate this Agreement, the Service Agreement and any
             other related agreements without either Party having any liability to the
             other Party upon prior written notice to Shipper; provided, however, that
             any such notice of termination must be provided within thirty (30) days
             after the event giving rise to Transporter’s right to terminate hereunder.

      iv.    Shipper Execution of the Service Agreement

             Shipper has executed the Service Agreement as required by Section 6(B)
             of this Agreement.

             If Transporter has tendered the Service Agreement to Shipper as required
             by Section 6(A) but Shipper has not executed same, and this Transporter
             Condition Precedent has not been satisfied or waived in writing by
             Transporter, then Transporter, subject to Section 5(C), shall have the right
             to terminate this Agreement, the Service Agreement and any other related
             agreements without liability to Shipper by giving written notice to Shipper
             at any time after the date by which Shipper is required to execute the
             Service Agreement pursuant to Section 6(B) of this Agreement, but prior
             to Shipper’s execution of the Service Agreement.

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      v.     Transporter Internal Approvals

             On or before thirty (30) calendar days following the Effective Date,
             Transporter shall have obtained all Transporter Internal Approvals
             necessary for the consummation of all agreements contemplated by this
             Agreement and the construction and/or acquisition of the Project Facilities
             subject to the terms and conditions of this Agreement.

             If this Transporter Condition Precedent has not been satisfied or waived in
             writing by thirty (30) calendar days following the Effective Date, then,
             subject to Section 5(C), Transporter shall have the right to terminate this
             Agreement, the Service Agreement and any other related agreements
             without either Party having any liability to the other Party upon prior
             written notice to Shipper; provided, however, that any such notice of
             termination must be provided within thirty (30) days of the event giving
             rise to Transporter’s right to terminate hereunder.

B.    Shipper Conditions Precedent

      Notwithstanding anything else in this Agreement to the contrary, Shipper’s
      obligations under this Agreement, the Service Agreement or any other related
      agreements are subject to the fulfillment or waiver of the following condition
      precedent (each a “Shipper Condition Precedent” and collectively the “Shipper
      Conditions Precedent”):

      i.     Shipper Internal Approvals

             Shipper shall have obtained all Shipper Internal Approvals necessary for
             the consummation of all agreements contemplated by this Agreement no
             later than thirty (30) days after execution of this Agreement.

             If this Shipper Condition Precedent has not been satisfied or waived on or
             before the date set forth above, then subject to Section 5(C), Shipper shall
             have the right to terminate this Agreement, the Service Agreement and any
             other related agreements without either Party having any liability or any
             further obligations to the other Party upon prior written notice to
             Transporter; provided, however, that any such notice of termination must
             be provided within thirty (30) days of the date on which Shipper’s right to
             terminate hereunder arises.




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            ii. Failure to Receive Notice of Internal Approvals from all Foundation
                Shippers

               Transporter shall have received written notice from Foundation Shippers
               unaffiliated with Transporter whose Project commitments total at least
               750,000 Dth/d of each such Foundation Shipper’s receipt of all required
               internal approvals pursuant to its precedent agreement with Transporter no
               later than thirty (30) days after the execution of the latest of the relevant
               executed Foundation Shipper precedent agreements. Notwithstanding
               Section 5(C), Transporter shall promptly advise Shipper of the
               satisfaction, waiver, or failure of this Condition Precedent following the
               deadline set forth above.

               If this Shipper Condition Precedent has not been satisfied or waived in
               writing by Shipper, then, subject to Section 5(C), Shipper shall have the
               right to terminate this Agreement, the Service Agreement and any other
               related agreements without either Party having any liability to the other
               Party upon prior written notice to Transporter; provided, however, that any
               such notice of termination must be provided within thirty (30) days after
               the event giving rise to Shipper’s right to terminate hereunder.

     iii.      Failure by Transporter to Obtain Transporter Regulatory Authorizations or
               other Regulatory Authorizations

               Transporter has received all Transporter Regulatory Authorizations
               necessary to construct and/or acquire and secure the Project Facilities and
               to render the proposed Firm Service pursuant to the terms and conditions
               specified herein (not including related to the filing of the Negotiated Rate
               Agreement terms) on or before July 1, 2019.

               If this Shipper Condition Precedent has not been satisfied or waived in
               writing by Shipper, then, subject to Section 5(C), Shipper shall have the
               right to terminate this Agreement, the Service Agreement and any other
               related agreements without either Party having any liability to the other
               Party upon prior written notice to Transporter; provided, however, that any
               such notice of termination must be provided within thirty (30) days after
               the event giving rise to Shipper’s right to terminate hereunder.




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      iii.   Tender and Execution of the Service Agreement by Transporter

             Transporter has tendered the Service Agreement to Shipper as required by
             Section 6(A) of this Agreement and Transporter has executed the Service
             Agreement as required by Section 6(C).

             If this Shipper Condition Precedent has not been satisfied or waived on or
             before the dates set forth below under Section 6, then subject to Section
             5(C), Shipper shall have the right to terminate this Agreement, the Service
             Agreement and any other related agreements without either Party having
             any liability or any further obligations to the other Party upon prior written
             notice to Transporter; provided, however, that any such notice of
             termination must be provided within thirty (30) days of the date on which
             Shipper’s right to terminate hereunder arises.

C.    Notice; Negotiation Prior to Termination

      For each of the conditions precedent set forth in Section 5(A) and 5(B), the
      relevant Party shall provide the other with written notice of the satisfaction or
      waiver of each condition within five (5) business days of the required date for
      satisfaction of the same. If notice of termination is provided by Transporter
      pursuant to Section 5(A) or by Shipper pursuant to Section 5(B), the Parties shall
      attempt in good faith during the ninety-day (90-day) period following the notice
      of termination by the relevant Party to negotiate an amendment to this Agreement
      to accomplish the Parties’ respective business objectives as determined in their
      sole discretion, reasonably exercised. This Agreement shall terminate at the end
      of such ninety-day (90-day) period without either Party having any liability to the
      other Party unless, prior to such date: (1) the Parties mutually agree in writing to
      an amendment to this Agreement that modifies the condition precedent that gave
      rise to such termination; (2) the Parties mutually agree in writing to extend the
      negotiation period; or (3) the terminating Party provides the other Party with
      written notice that it has elected to withdraw its previously submitted notice to
      terminate.

D.    Other Shipper Termination Rights

      i.     Filing of Certificate Application

             If Transporter has not filed the Certificate Application for any reason
             (including Force Majeure) or no reason by July 1, 2017, then Shipper shall
             have the right to terminate this Agreement, the Service Agreement and any
             other related agreements without Shipper having any liability to
             Transporter, effective on October 1, 2017, upon written notice to

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             Transporter (“Shipper Notice of Termination”) given no later than
             August 1, 2017; provided, that the Shipper Notice of Termination shall be
             null and void if Transporter has filed the Certificate Application on or
             before October 1, 2017.

      ii.    Acceptance of FERC Certificate

             If Transporter has not received and accepted the FERC Certificate by
             February 1, 2019 for any reason (including Force Majeure) or no reason,
             then Shipper shall have the right to terminate this Agreement, the Service
             Agreement and any other related agreements without Shipper having any
             liability to Transporter, effective on May 1, 2019, by giving a Shipper
             Notice of Termination to Transporter no later than March 1, 2019,
             provided, that the Shipper Notice of Termination shall be null and void if
             Transporter has received and accepted the FERC Certificate on or before
             May 1, 2019.

      iii.   Commencement of Service

             If the Commencement Date for firm transportation service on the Project
             Facilities does not occur by November 1, 2019 for any reason (including
             Force Majeure) or no reason, then Shipper shall have the right, to elect to
             terminate this Agreement, the Service Agreement and any other related
             agreements without Shipper having any liability to Transporter, effective
             on February 1, 2020, by giving a Shipper Notice of Termination to
             Transporter no later than December 1, 2019, provided, that the Shipper
             Notice of Termination shall be null and void if the Commencement Date
             occurs on or before February 1, 2020.

             If notice of termination is provided by Shipper pursuant to this Section
             5(D)(iii), the Parties shall attempt in good faith up to the effective date of
             the termination to negotiate an amendment to this Agreement to
             accomplish the Parties’ respective business objectives set forth in this
             Agreement; provided, however, that neither Party shall be required to
             consent to modifications to this Agreement or the Service Agreement.
             This Agreement, the Service Agreement and any other related agreements
             shall terminate on the date set forth in Shipper’s notice of termination
             unless prior to such date: (a) the Project Facilities are placed in service; (b)
             the Parties otherwise mutually agree in writing to an amendment to this
             Agreement; (c) the Parties mutually agree in writing to extend the
             negotiation period; or (d) Shipper provides Transporter with written notice



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             that Shipper has elected to withdraw its previously submitted notice to
             terminate.

E.    Liquidated Damages

      If the conditions precedent in this Section 5 have been satisfied but Transporter is
      unable to complete the construction of the Project Facilities and make Firm
      Service available to Shipper for its entire TQ from the Primary Receipt Points to
      the Primary Delivery Points set forth herein by no later than July 1, 2019, then: (i)
      Shipper will not be liable for any payment due (except with respect to
      transportation services that are being rendered hereunder), nor will the services
      under the Service Agreement commence, until the Commencement Date, and (ii)
      subject to any applicable Force Majeure relief pursuant to Section 5(F),
      Transporter’s sole obligation to Shipper, as a Foundation Shipper, in lieu of all
      other damages or claims applicable for such delay will be to pay Shipper the
      following liquidated damages for each day beginning August 1, 2019 (“Outside
      Commencement Date”) during which the delay continues, until and ending on
      July 31, 2020: an amount equal to the TQ multiplied by the applicable negotiated
      reservation rate; provided that any liquidated damages shall be prorated to the
      extent of the percentage of Shipper’s TQ (as calculated based on Shipper’s initial
      TQ as a percentage of the Project Capacity) that can be transported through the
      Project Facilities on any such day from Primary Receipt Points to Primary
      Delivery Points as elected herein, limited to the TQ applicable for such individual
      points. If the Commencement Date has not occurred by July 31, 2020 and the
      liquidated damages provided hereunder have been paid by Transporter beginning
      on the Outside Commencement Date and continuing until July 31, 2020, then
      from such date until August 10, 2020, either Party shall have the right to terminate
      this Agreement and the Service Agreement by written notice to the other Party,
      and in the event of such a termination neither shall have any further obligations to
      the other Party hereunder.

      To the extent that Transporter owes Shipper for liquidated damages as provided
      for in this Section 5(E), then no later than ten (10) business days following the last
      day of each month in which liquidated damages were incurred, Shipper shall
      deliver an invoice to Transporter for such liquidated damages incurred in
      accordance with the terms hereof. The invoice shall set forth the amounts owed
      (in United States Dollars) and the calculation thereof. Within fifteen (15) days
      after the receipt of the invoice, Transporter shall pay Shipper the liquidated
      damages as set forth in the invoice.




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F.    Force Majeure

      Except as otherwise expressly stated in this Agreement, any delay or failure in the
      performance by either Party hereunder shall be excused if and to the extent caused
      by the occurrence of a Force Majeure as defined herein, provided that (i) such
      Party shall give written notice to the other Party of the suspension of such
      performance or extension of such deadline for this reason as soon as reasonably
      possible, which notice shall state the date and extent of such suspension and the
      cause thereof; (ii) as soon as practicable after the occurrence of Force Majeure,
      the Party claiming Force Majeure shall give written notice to the other Party
      describing in detail the plan and schedule for overcoming the Force Majeure; and
      (iii) the Party claiming Force Majeure shall use Commercially Reasonable Efforts
      to overcome the Force Majeure and resume the performance of any suspended
      obligations as soon as reasonably possible. Promptly upon the restoration of
      performance, the Party claiming Force Majeure shall notify the other Party in
      writing that the suspension has terminated. Notwithstanding the foregoing, if any
      Condition Precedent set forth in this Section 5 has not been satisfied by the
      required deadline as a result of an occurrence of Force Majeure, or if any deadline
      set forth in Section 5(E) is not met as a result of the occurrence of Force Majeure
      if applicable, then such deadline shall be extended for each day that the
      occurrence of Force Majeure continues for up to a maximum of 180 days or as
      mutually agreed to by the Parties. “Force Majeure” as employed herein shall
      mean any cause, whether of the kind enumerated herein or otherwise, not within
      the reasonable control of the Party claiming Force Majeure, and which by the
      exercise of due diligence, such Party has been unable to prevent or overcome,
      including without limitations acts of God, the government, or a public enemy;
      strikes, lockouts, or other industrial disturbances; wars, terrorism, blockades, or
      civil disturbances of any kind; epidemics, landslides, hurricanes, washouts,
      tornadoes, storms, fires, explosions, arrests, and restraints of governments or
      people, and the inability or delay of either such Party to acquire, , at a
      commercially reasonable cost and after the exercise of Commercially Reasonable
      Efforts, any of the following: (a) any servitudes, rights of way, grants, permits or
      licenses; (b) any materials or supplies for the construction or maintenance of
      facilities; or (c) any Transporter Regulatory Approvals; if such are required to
      enable Transporter to fulfill its obligations hereunder.

G.    Development Costs

      In the event Transporter terminates this Agreement as permitted herein due to
      Shipper’s material breach of its obligations hereunder, including without
      limitation its obligations under Sections 3(B), 3(C) and 6(B), Shipper shall pay


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      Transporter its pro rata share of the commercially reasonable costs actually
      incurred and/or committed by Transporter and associated with the activities listed
      in the next sentence below for the development of the Project based on Shipper’s
      TQ in relation to the Project Capacity, less payments made by Shipper for
      transportation service (“Development Costs”); provided, however, that
      Transporter shall make reasonable efforts to mitigate the amount of Development
      Costs for which Shipper shall be responsible. The Development Costs are those
      meeting the above definition and associated with the following activities
      undertaken prior to termination of this Agreement: (i) participating in the FERC
      pre-filing process; (ii) preparing and filing Transporter’s application for a FERC
      Certificate; (iii) developing, designing, surveying and performing studies to
      define the scope of the Project; (iv) developing the design and engineering of the
      Project Facilities; (v) preparing all drawings, maps, reports and schedules
      necessary to be included in Transporter’s application for a FERC Certificate; (vi)
      contacting and meeting with any and all stakeholders to gain support for, or to
      appease opposition to, the Project; (vii) preparing, filing and processing all
      relevant applications for Transporter Regulatory Authorizations; (viii) identifying
      the suitability of the property on which certain of the Project Facilities will be
      constructed and any construction areas that will be needed as part of the Project;
      and (ix) acquiring equipment and materials for the construction of any portion of
      the Project Facilities if necessary due to lead times required for such equipment
      and materials to be available when needed.

      To the extent that Shipper owes Transporter for Development Costs as provided
      in this Section 5(G), not later than ninety (90) days following the termination of
      this Agreement, Transporter shall deliver an invoice to Shipper for such
      Development Costs incurred in accordance with the terms hereof. The invoice
      shall set forth all charges and credits (in United States Dollars) summarized by
      appropriate classifications indicating the nature of the charges in sufficient detail
      and with supporting documentation necessary for Shipper to verify the charges set
      forth in the invoice. Within thirty (30) days after the receipt of the invoice,
      Shipper shall pay Transporter such Development Costs set forth in the Invoice;
      provided that, for a period of eighteen (18) months following the date of the
      invoice, any Development Costs charged to Shipper and mitigated by Transporter
      by obtaining an incremental new commitment to firm service on the Project from
      a Replacement Shipper shall be credited to Shipper’s account and paid to Shipper
      within thirty (30) days of realization of any such savings or revenues. For
      purposes of this Section 5(G), the term “Replacement Shipper” shall mean any
      shipper contracting for firm service on the Project utilizing Project capacity that
      would not have been available to such shipper without the termination of this
      Agreement due to Shipper’s contractual commitment to that capacity, or any

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            existing shipper that increases its TQ and could not otherwise have increased its
            TQ on the Project but for the termination of this Agreement due to Shipper’s
            contractual commitment to that capacity. Shipper shall have right to inspect and
            audit Transporters books and records relating to the Development Costs for a
            period of one year after the closing of Transporter’s books related to such costs.

6.   Delivery and Execution of Service Agreement

     A.     Delivery of Service Agreement for Execution

            Within sixty (60) days after the date on which Transporter accepts a FERC
            Certificate for the Project, Transporter shall deliver to Shipper for Shipper’s
            execution (i) an FTS Agreement in a form substantially similar to Exhibit A
            hereto and consistent in all material respects with this Precedent Agreement; and
            (ii) a Negotiated Rate Agreement in a form substantially similar to Exhibit B
            hereto, and consistent in all material respects with this Precedent Agreement. The
            Parties agree to consider in good faith executing the FTS Agreement and the
            Negotiated Rate Agreement at a time earlier than contemplated in the previous
            sentence if required to allow Transporter to obtain the requisite notice to proceed
            with Project construction from any governmental agency of authority having
            jurisdiction.

     B.     Execution of Service Agreement by Shipper

            Shipper shall be required to execute and return to Transporter the FTS Agreement
            and the Negotiated Rate Agreement delivered by Transporter to Shipper pursuant
            to Section 6(A) of this Agreement no later than ten (10) days following receipt of
            the FTS Agreement and the Negotiated Rate Agreement pursuant to Section 6(A).

     C.     Execution of Service Agreement by Transporter

            Transporter shall be required to execute the FTS Agreement and the Negotiated
            Rate Agreement no later than ten (10) days following the receipt of the FTS
            Agreement and Negotiated Rate Agreement executed by Shipper.

7.   Notices

     Any notice and/or request provided for in this Agreement or any notice either Party may
     desire to give to the other shall be transmitted in writing (overnight delivery, U.S. Mail,
     or electronic mail) such that it is received before 5 p.m. Central time on the due date.

     Transporter:

            Midship Pipeline Company, LLC
            c/o Cheniere Energy, Inc.

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            700 Milam Street, Suite 1900
            Houston, TX 77002
            Email: cheniere.midship@cheniere.com
            With a copy to (which shall not constitute notice):

            Cheniere Energy, Inc.
            700 Milam Street, Suite 1900
            Houston, TX 77002
            Attention: Legal Department

     Shipper:

            Gulfport Energy Corporation
            3001 Quail Springs Parkway
            Oklahoma City, OK 73134
            Attn: Ty Peck

     Notice shall be effective as of the date of confirmed receipt, or, in the absence of
     confirmed receipt, as of the date actually received.

8.   Assignment

     Any entity that shall succeed by purchase, merger, or consolidation, or other transfer of
     the properties of either Transporter or Shipper, either substantially or as an entirety or of
     the producing properties associated with transportation service contemplated hereunder,
     shall be entitled to the rights and shall be subject to the obligations of its predecessor in
     interest under this Agreement, without any further liability of such predecessor in
     interest. Either Party may, without relieving itself of its obligations under this
     Agreement, assign any of its rights hereunder to an Affiliate, or to an entity described in
     the prior sentence, but otherwise no assignment of this Agreement or of any of the rights
     or obligations hereunder shall be made, unless there first shall have been obtained the
     written consent thereto of the other Party to this Agreement, which consent shall not be
     unreasonably withheld, conditioned, or delayed. Any assignee or replacement shipper
     shall be subject to and shall meet the credit requirements set forth in Section 3 of this
     Agreement.

     Once the Service Agreement is executed by both Parties and service has commenced
     thereunder, any assignment of such Service Agreement is subject to the terms and
     conditions of Transporter’s Tariff and this Agreement. The Parties agree to cooperate in
     the preparation and filing of all necessary applications for authorizations related to any
     assignment conforming to this Section 8 and, subject to the terms and conditions herein,
     agree to proceed with due diligence to prosecute such application(s), if necessary. The
     restrictions on assignment contained in this Section 8 shall not in any way prevent either
     Party to this Agreement from assigning its rights hereunder as security for its

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     indebtedness. Notwithstanding anything set forth herein to the contrary and without
     limitation the foregoing, either Party (together with its successors and permitted assigns)
     may collaterally assign this Agreement and the Service Agreement and its rights and
     obligations hereunder and thereunder to any financing sources. In connection with any
     such assignment, the other Party (together with its successors and permitted assigns)
     agrees to execute such documents as may be reasonably requested by such financing
     sources, or by subsequent assignees or designees of such financing sources, to evidence
     and acknowledge its consent and the effectiveness of any such assignment or lien.

9.   Miscellaneous

     A.     Project Status Updates

            Upon the Effective Date of this Agreement and continuing until the
            Commencement Date, Transporter shall provide Shipper with written periodic
            updates regarding the progress of the Project. Between execution of this
            Agreement and the commencement of construction activities, Transporter shall
            provide such updates on a quarterly basis. Following the commencement of
            construction activities, Transporter shall provide such updates on a monthly basis
            until the Commencement Date.

     B.     Modification

            No modification of the terms and provisions of this Agreement shall be made
            except by the execution by both Parties of a written agreement.

     C.     Choice of Law

            THE INTERPRETATION AND PERFORMANCE OF THIS AGREEMENT
            SHALL BE IN ACCORDANCE WITH AND CONTROLLED BY THE LAWS
            OF THE STATE OF TEXAS, EXCEPT THAT ANY CONFLICT OF LAWS
            RULE OF THE STATE OF TEXAS THAT WOULD REQUIRE REFERENCE
            TO THE LAWS OF SOME OTHER STATE OR JURISDICTION SHALL BE
            DISREGARDED. ANY DISPUTE UNDER THIS AGREEMENT SHALL BE
            BROUGHT EXCLUSIVELY IN THE STATE OR FEDERAL COURTS
            LOCATED IN HARRIS COUNTY, TEXAS, AND EACH PARTY HEREBY
            SUBMITS TO THE JURISDICTION OF SUCH COURTS AND WAIVES ANY
            OBJECTION ON CONVENIENCE, JURISDICTION, OR ANY OTHER
            GROUNDS. EACH PARTY IRREVOCABLY WAIVES TO THE FULLEST
            EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE
            TO A TRIAL BY JURY IN RESPECT OF ANY PROCEEDINGS RELATING
            TO THIS AGREEMENT. Nothing in the Agreement precludes either Party from
            bringing proceedings in any other jurisdiction to enforce any judgment obtained

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      in any proceedings referred to in this paragraph, nor will bringing of such
      enforcement proceedings in any one or more jurisdictions preclude the bringing of
      enforcement proceedings in any other jurisdiction.

D.    Term

      Unless terminated sooner pursuant to the terms herein, this Agreement shall
      terminate upon the Commencement Date; provided that Section 5(E) and 5(G)
      shall survive any termination of this Agreement prior to the Commencement Date,
      and Sections 1(F), 1(J), 1(K), 3(C), 8, 9(C), 9(D), 9(E), 9(F), 9(H), 9(J) and 9(M)
      and Exhibit “G” shall survive the termination of this Agreement and shall remain
      in effect until all obligations under this Agreement and the Service Agreement
      have been satisfied in full.

E.    No Waivers

      Except as expressly provided herein, no waiver by a Party of any default(s) by the
      other Party in the performance of any provision, condition, or requirement of this
      Agreement shall operate or be construed as a waiver of any future default(s),
      whether of a like or of a different character, nor in any manner release the
      defaulting Party from performance of any other provision, condition, or
      requirement herein.

F.    Limitation of Liability and Remedies

      NOTHING IN THIS AGREEMENT SHALL BE CONSTRUED TO PRECLUDE
      THE PARTIES FROM PURSUING ANY REMEDY AT LAW OR EQUITY
      FOR THE OTHER PARTY’S BREACH OF THIS AGREEMENT UNLESS
      SPECIFICALLY PROVIDED OTHERWISE HEREIN; PROVIDED,
      HOWEVER, THAT NEITHER PARTY SHALL BE LIABLE FOR
      CONSEQUENTIAL, INCIDENTAL, PUNITIVE, EXEMPLARY OR INDIRECT
      DAMAGES, BY STATUTE, IN TORT OR CONTRACT OR OTHERWISE. FOR
      THE AVOIDANCE OF DOUBT, THE PARTIES AGREE THAT THE
      PAYMENT OF LIQUIDATED DAMAGES BY TRANSPORTER IN
      ACCORDANCE WITH SECTION 5(E) OR DEVELOPMENT COSTS BY
      SHIPPER IN ACCORDANCE WITH SECTION 5(G) SHALL NOT
      CONSTITUTE      CONSEQUENTIAL,     INCIDENTAL,      PUNITIVE,
      EXEMPLARY OR INDIRECT DAMAGES AND NO SUCH PAYMENT
      SHALL BE PRECLUDED BY THIS SECTION 9(F). IT IS THE INTENT OF
      THE PARTIES THAT THE LIMITATIONS HEREIN IMPOSED ON
      REMEDIES BE WITHOUT REGARD TO CAUSE OR CAUSES RELATED
      THERETO, INCLUDING WITHOUT LIMITATION THE NEGLIGENCE OF


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      ANY PARTY, WHETHER SUCH NEGLIGENCE                        BE SOLE, JOINT, OR
      CONCURRENT, OR ACTIVE OR PASSIVE.

G.    Agreement Subject to Regulatory Authorities

      This Agreement, all of the terms and provisions contained herein and the
      respective obligations of the Parties are subject to Transporter’s Tariff and to all
      valid laws, orders, rules and regulations of duly constituted governmental
      authorities having jurisdiction.

H.    Severability

       If any provision of this Agreement is declared null and void or voidable by a
       court of competent jurisdiction, such declaration shall in no way affect the
       validity or effectiveness of the other provisions of this Agreement, which shall
       remain in full force and effect and the Parties shall thereafter undertake
       Commercially Reasonable Efforts to agree upon an equitable adjustment of the
       provisions of this Agreement with a view to effecting its purpose.

I.    No Presumption Against Drafter

      No presumption shall operate in favor of or against any Party as a result of any
      responsibility or role that any Party may have had in the drafting of this
      Agreement.

J.    Confidentiality

      Each Party shall hold the substance and terms of this Agreement confidential
      during the Term, but may disclose the substance and terms of this Agreement to
      its or its Affiliates’ directors, officers, employees, representatives, agents,
      members,      partners,     lenders,   consultants,    attorneys    or    auditors
      (“Representatives”) or any permitted assignee or permitted prospective assignee
      or its Representatives, in each case who have a need to know the substance and
      terms of this Agreement and who are subject to a confidentiality agreement or
      obligation covering the disclosed information. Neither Party shall disclose or
      communicate, and will cause its Representatives not to disclose or communicate,
      the substance or terms of this Agreement to any other person, entity, firm, or
      corporation without the prior written consent of the other Party; provided that
      Transporter may file the Agreement as a privileged and confidential document, as
      provided in applicable regulations, in any applications for Transporter Regulatory
      Authorizations. Either Party or its Representatives may disclose the substance or
      terms of this Agreement as requested or required by law, order, rule or regulation
      of any duly constituted governmental body or official authority having


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      jurisdiction; provided however, the Party compelled to disclose the Agreement
      shall give prompt written notice of such requirement to the other Party so that
      either Party may seek a protective order or other appropriate remedy and/or waive
      the compliance with the terms hereof. In connection with any filing of this
      Agreement at FERC, the filing party shall seek confidential treatment of this
      Agreement in accordance with FERC’s regulations. For the avoidance of doubt,
      the confidentiality obligations of this section shall not apply to any terms of the
      Agreement which are to be reflected in the Service Agreement or the Negotiated
      Rate Agreement, only to the extent that such terms are required to be filed at
      FERC for approval and/or for inclusion in the Tariff but subject to the filing party
      seeking confidential treatment in accordance with, and to the extent such
      treatment is available under, FERC’s regulations.

K.    Entire Agreement

      This Agreement sets forth all understandings and agreements between the Parties
      respecting the subject matter hereof, and all prior agreements, understandings and
      representations, whether written or oral, respecting the subject matter hereof are
      merged into and superseded by this Agreement. In the event of any conflict
      between the terms of this Agreement and the Service Agreement, the terms of the
      following agreements shall control in the following order: this Agreement, and the
      Service Agreement.

L.    Execution of Agreement

      This Agreement may be executed by the Parties in separate counterparts, each of
      which when so executed and delivered will be an original, but all such
      counterparts will together constitute but one and the same instrument.

M.    Definition of Commercially Reasonable Efforts

      The term “Commercially Reasonable Efforts” means all reasonable efforts and
      reasonable expenditures that the performing Party, with the intention of
      performing its contractual obligations in full and using reasonable standards for
      performance in the natural gas pipeline industry, would employ in good faith to
      diligently pursue and timely satisfy its obligations under this Agreement
      including, where necessary, the expenditure of additional funds and/or the
      incurrence of additional costs beyond those initially budgeted or projected;
      provided, however, that the performing Party shall not be required to take
      additional actions, incur additional costs, and/or expend additional funds that
      would render performance of this Agreement economically infeasible.



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N.    Definition of Affiliate

      For all purposes hereunder, “Affiliate” means, with respect to a Party, any
      corporation, partnership or other entity or association that directly, or indirectly
      through one or more intermediaries, controls such Party, or is controlled by such
      Party or is under common control with such Party. The terms “control(s)” or
      “controlled” mean the power to direct the management and policies of an entity,
      directly or indirectly, whether through ownership of voting securities, by contract
      or otherwise. Ownership of more than 50% of the voting securities of an entity
      shall be deemed “control.”

                           [Signature Page Follows]




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             EXHIBIT A TO PRECEDENT AGREEMENT

         FORM OF GAS TRANSPORTATION AGREEMENT
               (For Use Under FTS Rate Schedule)




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              FORM OF FIRM TRANSPORTATION SERVICE AGREEMENT
                             RATE SCHEDULE FTS

                                                                 Date:
                                                          Contract No.          , Rev No.

                   FIRM TRANSPORTATION SERVICE AGREEMENT

       This FIRM TRANSPORTATION SERVICE AGREEMENT (herein referred to as the
“FTS Agreement”) is entered into by MIDSHIP PIPELINE COMPANY, LLC (herein referred to
as “Transporter”) and __________________ (herein referred to as “Shipper”).

WHEREAS, Shipper has requested Transporter to transport Gas on its behalf and Transporter
represents that it is willing to transport Gas under the terms and conditions of this FTS
Agreement.

        NOW, THEREFORE, Transporter and Shipper agree to the terms below. Transporter
shall perform and Shipper shall receive service in accordance with the provisions of this FTS
Agreement, the Negotiated Rate Agreement, (the FTS Agreement and the Negotiated Rate
Agreement shall be referred to herein as the “Service Agreement”), the effective FTS Rate
Schedule, and applicable General Terms and Conditions of Transporter’s FERC Gas Tariff on
file with the Federal Energy Regulatory Commission (“FERC” or “Commission”), as may be
amended or superseded in accordance with the rules and regulations of the Commission.

1.     AUTHORITY FOR FIRM TRANSPORTATION SERVICE:

       Authority for Firm Transportation Service shall be under Part 284, Subpart B or G of the
       Commission’s regulations.

2.     CONTRACT DATA:

       The MDTQ per Zone shall be:

              Zone 1: __________ Dth

              Zone 2: __________ Dth

       A list of the Primary Receipt/Delivery Point(s), Receipt/Delivery Point MDQ(s) and
       Total MDTQ are provided on the attached Appendix A.

3.     TERM:

       This FTS Agreement shall become effective when executed by Transporter and Shipper.
       Service hereunder will commence on ___________________________ (the
       “Commencement Date”) and will continue in force and effect until 9:00 a.m. Central
       Clock Time on ___________________________ (“Primary Term”).


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Shipper shall have the right to request to negotiate an extension of the Primary Term
during the last year of the Primary Term. If Shipper desires to change or modify all or a
portion of the Firm Service under its Service Agreement (e.g. rates, Term, MDTQ,
receipt and delivery points), then at least nine (9) months prior to the expiration of the
Primary Term, Shipper shall have the right to notify Transporter in writing of its intent to
renegotiate the Service Agreement. Upon such notification, Shipper and Transporter shall
enter into negotiations in accordance with the terms of the Precedent Agreement between
Shipper and Transporter dated [___]. If the Parties agree to extend the Primary Term and
modify any other terms of the Firm Service under the Service Agreement, then the Parties
will execute a replacement Service Agreement (including both the FTS Agreement and
Negotiated Rate Agreement, as necessary) reflecting the modified terms thereto
(“Negotiated Service Agreement”), and the prior Service Agreement shall, upon
execution of the Negotiated Service Agreement, be of no further force or effect.

In the event that Shipper elects to not negotiate an extension of the term as aforesaid or
the Parties fail to execute a new Negotiated Service Agreement within the allotted time
period, Shipper shall have the right to renew the Service Agreement for up to five (5)
additional years ("First Renewal Term"). If Shipper desires to extend the term of the
Service Agreement for the First Renewal Term at the then current transportation rate(s), it
shall notify Transporter in writing of its election at least six (6) months prior to the
expiration of the Primary Term. Shipper’s election notice shall specify the term of the
First Renewal Term, the applicable MDTQ, and Primary Receipt Point(s) and Primary
Delivery Point(s). Should the Primary Receipt or Primary Delivery Points be different
from Shipper’s current Primary Receipt and Primary Delivery Points under the FTS
Agreement, then such changes shall be submitted in accordance with Transporter’s Tariff
and will be subject to available capacity. The MDTQ on the First Renewal Term will be
up to but no greater than the MDTQ at the time the renewal rights are exercised. The First
Renewal Term may not be less than one (1) year. If Shipper declines to renew the Service
Agreement for the First Renewal Term, the Shipper shall have those ROFR rights as
described herein below.

If the Parties have executed either (i) a Service Agreement for the First Renewal Term or
(ii) a Negotiated Service Agreement pursuant to the foregoing terms, then Shipper has the
right to negotiate an extension of Shipper’s Firm Service during the last year of the First
Renewal Term or the last year of the Negotiated Service Agreement, as applicable, in
accordance with the terms of the Precedent Agreement. If the Parties agree to so extend
the term and modify any other terms of the Firm Service under the Negotiated Service
Agreement, then the Parties will execute a replacement Negotiated Service Agreement
(including both the FTS Agreement and Negotiated Rate Agreement, as necessary)
reflecting the modified terms thereto, and the prior Negotiated Service Agreement shall,
upon execution of the replacement Negotiated Service Agreement, be of no further force
or effect.

If Shipper and Transporter agreed to a First Renewal Term or a Negotiated Service
Agreement in accordance with the foregoing, and Shipper elects to not negotiate a
replacement Negotiated Service Agreement or the Parties fail to execute a replacement
Negotiated Service Agreement within the allotted time period, Shipper shall have the
right to extend the term of the Service Agreement for a second renewal term of up to five
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     (5) additional years (the “Second Renewal Term”, and each of the First Renewal Term
     and the Second Renewal Term, the “Renewal Terms”), at the then current transportation
     rate(s), and Shipper in that event shall notify Transporter in writing of its election at least
     six (6) months prior to the expiration of the First Renewal Term. Shipper’s election
     notice shall specify the term of the Second Renewal Term, the applicable TQ, and
     Primary Receipt Point(s) and Primary Delivery Point(s). Should the Primary Receipt or
     Primary Delivery Points be different from Shipper’s current Primary Receipt and Primary
     Delivery Points under the FTS Agreement, then such changes shall be submitted in
     accordance with Transporter’s Tariff and will be subject to available capacity. The TQ on
     the Second Renewal Term will be up to but no greater than the TQ at the time the
     renewal rights are exercised. The Second Renewal Term may not be less than one (1)
     year. If Shipper declines to renew the Service Agreement for the Second Renewal Term,
     then Shipper shall have those ROFR rights as described herein below.

     Transporter hereby grants Shipper a contractual right of first refusal (“ROFR”) upon the
     expiration of the Primary Term, including any extension thereof in accordance with this
     Section 3. For the sake of clarity, the ROFR granted by Transporter to Shipper hereunder
     consists of the rights set forth in the General Terms and Conditions of Transporter’s
     Tariff in the relevant section regarding “Right of First Refusal” as the same is approved
     and in effect during the Term, and shall apply to Shipper notwithstanding the fact that
     Shipper will not pay maximum tariff rates under the Service Agreement.

     The Primary Term, First Renewal Term (if applicable), Second Renewal Term (if
     applicable), and any extension pursuant to any applicable ROFR shall collectively be
     referred to herein as the “Term.”

4.   RATES:

     Maximum rates, charges, and fees shall be applicable for the entitlements and quantities
     delivered pursuant to this Service Agreement unless Transporter has advised Shipper in
     writing at the address below or by Transporter’s Internet website that it has agreed
     otherwise. Nothing herein shall obligate Transporter to provide service at less than the
     maximum rates, unless a Negotiated Rate is otherwise agreed to by the parties in writing.
     Transporter may agree to provide service to Shipper at a specified discount, in which case
     such discount shall not be provided at a rate lower than the variable costs included in
     Transporter’s currently effective usage rate. If Shipper and Transporter agree to a
     Negotiated Rate and specified term for service hereunder, provisions governing such
     Negotiated Rate and term shall be applicable, as set forth in Section 7 herein and as
     reflected in Appendix B below.

     It is further agreed that Transporter may seek authorization from the Commission and/or
     other appropriate body at any time and from time to time to change any rates, charges or
     other provisions in the applicable Rate Schedule and General Terms and Conditions of
     Transporter’s FERC Gas Tariff, and Transporter shall have the right to place such
     changes in effect in accordance with the Natural Gas Act. This FTS Agreement shall be
     deemed to include such changes and any changes which become effective by operation of
     law and Commission order. Nothing contained herein shall be construed to deny Shipper
     any rights it may have under the Natural Gas Act, including the right to participate fully
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     in rate or other proceedings by intervention or otherwise to contest increased rates in
     whole or in part. Notwithstanding the foregoing, Transporter and Shipper agree not to
     initiate any proceeding before the FERC with respect to a Negotiated Rate set forth in
     Section 7 and Appendix B herein and for the effective term of such Negotiated Rate.



5.   INCORPORATION BY REFERENCE:

     The General Terms and Conditions of Transporter’s FERC Gas Tariff are incorporated by
     reference in their entirety in this FTS Agreement. If a conflict arises between the General
     Terms and Conditions of Transporter’s FERC Gas Tariff and the provisions of this FTS
     Agreement, the General Terms and Conditions shall control.

6.   NOTICES:

     All notices can be given by telephone or other electronic means; however, such notice
     shall be confirmed in writing at the addresses below or through Transporter’s Internet
     Website. Shipper or Transporter may change the addresses below by written notice to the
     other without the necessity of amending this FTS Agreement:

     TRANSPORTER:                                      SHIPPER:
       Midship Pipeline Company, LLC                     _________________________
       700 Milam, Suite 1900                             _________________________
       Houston, Texas 77002                              _________________________

        Attention: Customer Services                     Attention:
        Telephone: 713-375-5000                          Telephone:
        Fax: 713-375-6000                                Fax:
        Email: cheniere.midship@cheniere.com             Email:

     INVOICES AND STATEMENTS:                          NOMINATIONS:




        Attention:                                       Attention:
        Telephone:                                       Telephone:
        Fax:                                             Fax:
        Email:                                           Email:

     ALL OTHER MATTERS:



        Attention:
        Telephone:
        Fax:
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             Email:

7.        SPECIFICATION OF NEGOTIATED RATE (if applicable):

          Negotiated Rate ________ ($/Dth). Please see Appendix B attached hereto.

       IN WITNESS WHEREOF, the parties hereto have caused this Firm Transportation
Service Agreement to be signed by their respective officers or representatives, thereunto duly
authorized to be effective as of the date stated in Section 3 of this FTS Agreement.


 TRANSPORTER:                                             SHIPPER:

 MIDSHIP PIPELINE COMPANY, LLC                            _____________________________________

 By:                                                      By:

 Title:                                                   Title:

 Date:                                                    Date:




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                       APPENDIX A
  TO FIRM TRANSPORTATION SERVICE AGREEMENT NO. _________
                 UNDER RATE SCHEDULE FTS


BETWEEN: Midship Pipeline Company, LLC. and __________________

MAXIMUM DAILY TRANSPORTATION QUANTITY (“MDTQ”):

      Zone 1                __________ Dth
      Zone 2                __________ Dth

ORIGINAL CONTRACT TERM:

      Begin Date                             End Date

AMENDMENT DATE:                              REVISION NO.:

PRIMARY RECEIPT POINT MDQ:

                   Receipt Point             Receipt Point MDQ




                             TOTAL:


PRIMARY DELIVERY POINT MDQ:

                   Delivery Point           Delivery Point MDQ




                             TOTAL:




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PRESSURE OBLIGATION AT RECEIPT POINTS:

     Enlink Chisholm - Shipper shall not be required to deliver above 1100 psig and
     Transporter shall not operate the receipt point at a pressure higher than 1100 psig unless
     mutually agreed upon by both parties

     Oneok Canadian Valley - Shipper shall not be required to deliver above 1100 psig and
     Transporter shall not operate the receipt point at a pressure higher than 1100 psig unless
     mutually agreed upon by both parties

     Enlink Cana - Shipper shall not be required to deliver above 1000 psig and Transporter
     shall not operate the receipt point at a pressure higher than 1000 psig unless mutually
     agreed upon by both parties

     WEX Grady - Shipper shall not be required to deliver above 1150 psig and Transporter
     shall not operate the receipt point at a pressure higher than 1150 psig unless mutually
     agreed upon by both parties

     Targa Velma - Shipper shall not be required to deliver above 850 psig and Transporter
     shall not operate the receipt point at a pressure higher than 850 psig unless mutually
     agreed upon by both parties


     RATE AND CHARGES: Shipper shall pay all applicable rates and charges as reflected
     on the currently effective rate section (Section 4) filed as part of Transporter’s FERC Gas
     Tariff, subject to the following:

     Applicable Rates are exclusive of fuel recovery, applicable surcharges and lost and
     unaccounted for gas recovery.


     See Appendix B for Negotiated Rate Agreement.




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                              MIDSHIP PIPELINE COMPANY, LLC
                              By:
                              Title:
                              Date:


                              ____________________________________
                              By:
                              Title:
                              Date:




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                                                                 FINAL


             EXHIBIT B TO PRECEDENT AGREEMENT

            FORM OF NEGOTIATED RATE AGREEMENT




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                                  APPENDIX B
             TO FIRM TRANSPORTATION SERVICE AGREEMENT NO. _________
                            UNDER RATE SCHEDULE FTS

                        FORM OF NEGOTIATED RATE AGREEMENT

                                                         20,

                                                               Midship Pipeline Company, LLC
                                                                        700 Milam, Suite 1900
                                                                         Houston, Texas 77002
____________

____________

       Re: Negotiated Rate Agreement for Firm Transportation Service

Dear Shipper:

        This Negotiated Rate Agreement (“Negotiated Rate Agreement”) specifies additional
terms and conditions applicable to the referenced Firm Transportation Service Agreement (“FTS
Agreement”) between, Cheniere Midstream Holdings, Inc. (“Transporter”) and
_________________________ (“Shipper”). Transporter and Shipper may be referred to herein
together as “Parties”, and each may be referred to herein individually as a “Party”. This
Negotiated Rate Agreement is subject to all applicable Federal Energy Regulatory Commission
(“FERC” or “Commission”) regulations. In the event the language of this Negotiated Rate
Agreement conflicts with Transporter’s FERC Gas Tariff (“Tariff”), the language of the Tariff
and the provisions of the FTS Agreement, the provisions of this Negotiated Rate Agreement
shall control.

         1.    Pursuant to Section 7 of the FTS Agreement, Transporter has agreed to charge a
negotiated rate for the services described therein. During the term of the FTS Agreement, the
negotiated transportation rate shall be a reservation charge of the following:

       (a)      $_______ per Dth, including for all Shipper nominations from the Primary
                Receipt Point zone to the Primary Delivery Point zone, as set forth in the
                Transporter’s Tariff, as the same is effective from time to time;

       (b)      $_____ per Dth for all other secondary firm nominations, in accordance with the
                Tariff; and

       (c)      $_______ per Dth for Authorized Overrun volumes

       (collectively, the “Negotiated Rate”).

The Negotiated Rate is applicable during the Primary Term as defined in Section 3 of the FTS
Agreement, and during any Renewal Term(s), unless the Transporter and the Shipper have
executed a Negotiated Service Agreement (as defined in the FTS Agreement) during the last year


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of the Primary Term, or a replacement Negotiated Service Agreement during the last year of the
Negotiated Service Agreement or the First Renewal Term, as applicable, in which event the
Negotiated Rate shall be as set forth in the new Negotiated Rate Agreement and the new FTS
Agreement, (or in the event of the Parties executing a replacement Negotiated Service
Agreement, the replacement Negotiated Rate Agreement and the replacement FTS Agreement),
each of which shall be applicable for the agreed extended period. In all other instances, Shipper
shall pay the charges set forth in the Tariff. The Negotiated Rate does not include the fuel
retainage percentage, which shall be retained in accordance with the Tariff as it may be revised
from time to time.

         2.   The foregoing notwithstanding, in the event that the total aggregate volume
reflected in all shippers’ firm service commitments to the Project at the time of the
Commencement Date equals or exceeds 1,000,000, Dth/day, the Negotiated Rate will be
decreased by $0.01.

         3.    The Negotiated Rate shall be subject to adjustment as follows: To the extent
Transporter’s fuel retainage percentage exceeds 0.8% in a given calendar year during the Term,
there shall be an adjustment to the Negotiated Rate for the next following calendar year by an
appropriate percentage to compensate Shipper for the fuel retainage obligation above the
threshold set forth in this sentence, based on the average Monthly Bidweek Gas Prices for
ONEOK, Okla. under the heading “Midcontinent” as published by Platts Inside FERC’s Gas
Market Report for such prior year. In the event said index is discontinued, the Parties shall agree
upon a replacement index. The Negotiated Rate shall apply to Shipper’s deliveries to secondary
delivery points on the Project, made in accordance with the applicable provisions of the Tariff.

          4.   Negotiated Rate Adjustment for Overrun Volumes. In addition, Shipper shall
be entitled to an adjustment to the Negotiated Reservation Charge in accordance with this
Section. Specifically, in the event that:

       (a)     in one or more calendar year(s) during the Term (other than either of the last two
               years thereof regardless of any subsequent extension), Shipper transports
               aggregate volumes on the Project from any receipt point to any delivery point in
               excess of the MDTQ multiplied by the number of days in the relevant calendar
               year, excluding unauthorized overrun volumes (such amount for a given calendar
               year, an “Annual Overrun Quantity”), and

       (b)      in any other calendar year during the Term (other than the last year thereof
               regardless of any subsequent extension) that follows a year in which there was an
               Annual Overrun Quantity amount available, Shipper transports aggregate volumes
               on the Project from any receipt point to any delivery point less than the MDTQ
               multiplied by the number of days in the relevant calendar year (such amount for a
               given calendar year, an “Annual Underrun Quantity”), then

       (c)     during the year of the Term that immediately follows the year of the Annual
               Underrun Quantity, the Negotiated Reservation Charge shall be reduced by an
               appropriate percentage that results in a reduction to the aggregate reservation
               charges paid by Shipper during such year for the MDTQ multiplied by the


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               number of days in that year that is consistent with the following sentence. The
               reduction in Shipper’s aggregate reservation charges for the MDTQ in the year
               following the year in which there has been an Annual Underrun Quantity shall be
               the lesser of: (x) the product of the Annual Underrun Quantity multiplied by the
               unrevised Negotiated Reservation Charge, and (y) the product of the aggregate of
               the accumulated Annual Overrun Quantity multiplied by the unrevised Negotiated
               Reservation Charge. To the extent that after such determination there remains
               any Annual Overrun Quantity, such balance shall be carried forward to be applied
               the next time that there is an Annual Underrun Quantity, together with any
               additional Annual Overrun Quantity that may have arisen prior to such time.

           5. Subject to, and consistent with, Section 7 of the FTS Agreement, Shipper agrees
to pay the fixed Negotiated Rate for the Firm Transportation Service. Further, Shipper
Agreements to pay: (i) the applicable Annual Charge Adjustment surcharge as set forth in the
Tariff and applicable to service under Rate Schedule FTS from time to time, and (ii) any other
charges and surcharges, if any, applicable to service under Rate Schedule FTS pursuant to any
FERC-approved cost recovery mechanism of general applicability under such Rate Schedule,
including any surcharge or other charge which is designed to recover costs that are incurred due
to a mandate from FERC or any other governmental authority, or otherwise related to pipeline
safety or environmental compliance costs associated with Transporter’s operations pursuant to
Transporter’s Tariff.

        6.     Should the Commission or a court with jurisdiction issue a ruling that has the
effect of prohibiting Transporter from collecting, or require Transporter to charge more than the
rates and charges provided for herein, then the Parties agree to enter into a substitute lawful
arrangement, such that the parties are placed in the same economic position as if Transporter had
collected only the rates and charges set forth herein. Failing such agreement, Shipper may
terminate this Agreement and the Service Agreement upon giving Transporter ninety (90) days’
notice with no liability to Transporter hereunder or thereunder, except for the payment of the
Negotiated Rate for transportation service rendered prior to termination.

        7.      Most Favored Nations. If, any time and from time to time during the first five
(5) years of the Primary Term of the Service Agreement, Transporter agrees to provide any
shipper a rate or rates for firm or interruptible transportation service utilizing some or all of the
Project Facilities in the applicable rate zone(s) in which Shipper’s Primary Receipt Point(s) and
Primary Delivery Point(s) are located (other than a negotiated rate for another Foundation
Shipper that is the result of a temporary rate adjustment to account for an Annual Overrun credit
in accordance with such Foundation Shipper’s negotiated rate agreement) from any receipt point
on the Project Facilities, within the applicable rate zone(s) as set forth above, which third party
rate is less than the Negotiated Rate, then Transporter will (x) immediately notify Shipper in
writing of such agreement, (y) provide Shipper with the negotiated rate terms agreed to with the
third party shipper within 5 business days following the execution thereof in order for Shipper to
verify whether Shipper’s rights are trigger by such agreement, and (z) offer Shipper the same
lower rate or rates as of the date that Transporter begins providing the lower rate or rates to the
other shipper for the same term that Transporter has agreed to provide to the other shipper but
not to exceed the Primary Term of the Service Agreement. This most favored nations provision
shall apply regardless of: (i) the type of rate or rates offered to the other shipper (e.g. negotiated


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rate, discounted rate, firm service rate, interruptible service rate, recourse rate, or otherwise); (ii)
the classification of the other shipper offered the lower rate or rates (e.g., Foundation Shipper,
Open Season shipper, or otherwise); (iii) whether the receipt point(s) or the delivery point(s) for
the other shipper are the same as those listed in Shipper’s FTS Agreement or are located
anywhere else on the Facilities within the applicable rate zone(s) as set forth above; (iv) the
duration of the contracted primary term for the other shipper; or (v) the maximum daily quantity
the other shipper has committed to on the Facilities or any expansion thereof. If Shipper is
willing to accept the offer of the revised rate or rates then Shipper shall notify Transporter within
ten (10) business days of Shipper’s receipt of such offer, and the Parties will enter into an
amendment to this Agreement and/or the Service Agreement, as applicable, at the lower rate or
rates.

The foregoing sets forth the entire agreement between the Parties as it relates to any negotiated
rate under the Firm Transportation Service Agreement, and may only be amended or modified by
written agreement, duly executed by both Parties. This Agreement shall be effective
immediately upon acknowledgement and acceptance by ___________, 20___.

                                                Sincerely,

                                                MIDSHIP PIPELINE COMPANY, LLC

                                                By:

                                                Name:

                                                Title:



AGREED AND ACCEPTED ON THIS ____
DAY OF _______, ____

______________________

By:

Name:

Title:




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             EXHIBIT C TO PRECEDENT AGREEMENT

                      FORM OF GUARANTY




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                                              EXHIBIT C

                                        FORM OF GUARANTY


THIS GUARANTY (this “Guaranty”), dated as of _____, ____ (the “Effective Date”), is made by
[INSERT NAME OF SHIPPER’S CREDITWORTHY GUARANTOR IN ALL CAPS] (“Guarantor”), in
favor of [INSERT TRANSPORTER’S NAME IN ALL CAPS] (“Counterparty”).

                                              RECITALS:

      A. WHEREAS, Counterparty and Guarantor’s indirect, wholly-owned subsidiary [INSERT
         SHIPPER’S NAME IN ALL CAPS] (“Obligor”) have entered into, or concurrently herewith are
         entering into, that certain Precedent Agreement [dated/made/entered into/effective] as of March
         15, 2017 (the “Agreement”);

      B. WHEREAS, capitalized terms used but not defined herein shall have the meaning ascribed to
         them in the Agreement; and

      C. WHEREAS, Guarantor will directly or indirectly benefit from the Agreement and the Service
         Agreement (as they may be amended, supplemented and replaced from time to time, collectively
         the “Agreements”);

NOW THEREFORE, in consideration of the foregoing premises and as an inducement for Counterparty’s
execution, delivery and performance of the Agreements, and for other good and valuable consideration,
the receipt and sufficiency of which is hereby acknowledged, Guarantor hereby agrees for the benefit of
Counterparty as follows:

                                    *               *               *

1.      GUARANTY. Subject to the terms and provisions hereof, Guarantor hereby absolutely and
irrevocably guarantees the timely payment when due of all obligations of Obligor to Counterparty now or
hereafter existing or arising from time to time under the Agreements (the “Obligations”) and interest, if
any, on the Obligations as well as costs of collection and enforcement of this Guaranty. This Guaranty
shall constitute a guarantee of payment and not of collection.

2.       DEMANDS AND PAYMENT.

(a)      If Obligor fails to pay any Obligation to Counterparty when such Obligation is due and owing
         under the Agreement (an “Overdue Obligation”), Counterparty may present a written demand to
         Guarantor calling for Guarantor’s payment of such Overdue Obligation pursuant to this Guaranty
         (a “Payment Demand”).

(b)      After issuing a Payment Demand, Counterparty shall not be required to issue any further notices
         or make any further demands with respect to the Overdue Obligation(s) specified in that Payment
         Demand, and Guarantor shall be required to make payment with respect to the Overdue
         Obligation(s) specified in that Payment Demand within five (5) Business Days after Guarantor
         receives such demand. As used herein, the term “Business Day” shall mean all weekdays (i.e.,
         Monday through Friday) other than any weekdays during which commercial banks or financial
         institutions are authorized to be closed to the public in the State of Texas or the State of New
         York.
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3.      REPRESENTATIONS AND WARRANTIES. Guarantor represents and warrants that:

(a)     it is a [__________] duly organized and validly existing under the laws of the State of
        [__________] and has the corporate power and authority to execute, deliver and perform this
        Guaranty;

(b)     the execution, delivery and performance of this Guaranty and all other instruments, documents
        and agreements required by the provisions of this Guaranty to be executed, delivered and
        performed by Guarantor have been duly authorized by all necessary company action on the part
        of Guarantor;

(c)     no authorization, approval, consent or order of, or registration or filing with, any court or other
        governmental body having jurisdiction over Guarantor is required on the part of Guarantor for the
        execution, delivery and performance of this Guaranty; and

(d)     this Guaranty constitutes a valid and legally binding agreement of Guarantor, enforceable against
        Guarantor in accordance with the terms hereof, except as the enforceability thereof may be
        limited by the effect of any applicable bankruptcy, insolvency, reorganization, moratorium or
        similar laws affecting creditors’ rights generally and by general principles of equity.

4.      RESERVATION OF CERTAIN DEFENSES. Guarantor reserves to itself all rights, setoffs,
counterclaims and other defenses to which Obligor is or may be entitled arising from or out of the
Agreement, except as otherwise provided herein and except for defenses (if any) based upon the
bankruptcy, insolvency, reorganization, moratorium, dissolution or liquidation of Obligor or any lack of
power or authority or failure of Obligor to execute, deliver and perform the Agreement. Until such time
as all Obligations have been indefeasibly paid in full, Guarantor shall have no right to assert, enforce or
exercise any right of subrogation or similar right or defense in respect of the Obligations.

5.     AMENDMENT OF GUARANTY. No term or provision of this Guaranty shall be amended,
modified, altered, waived or supplemented except in a writing signed by Guarantor and Counterparty.

6.      WAIVERS AND CONSENTS.

(a)     Except as required in Section 2 above, Guarantor hereby waives (i) notice of acceptance of this
        Guaranty; (ii) presentment and demand; and (iii) any right to require that any action or
        proceeding be brought against Obligor or any other person, or to require that Counterparty seek
        enforcement of any performance against Obligor or any other person, prior to any action against
        Guarantor under the terms hereof.

(b)     No delay by Counterparty in the exercise of (or failure by Counterparty to exercise) any rights
        hereunder shall operate as a waiver of such rights, a waiver of any other rights or a release of
        Guarantor from its obligations hereunder. No change in law, regulation or order affecting any
        Obligation or right with respect thereto, or any other circumstances which may constitute a
        defense available to or discharge of an obligor or guarantor, shall impair or release Guarantor’s
        obligations hereunder.

(c)     Without notice to or the consent of Guarantor, and without impairing or releasing Guarantor’s
        obligations under this Guaranty, Counterparty may: (i) change the manner, place or terms for
        payment of all or any of the Obligations (including renewals, extensions or other alterations of the
        Obligations); (ii) release any person from liability for payment of all or any of the Obligations; or


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        (iii) receive, substitute, surrender, exchange or release any collateral or other security for any or
        all of the Obligations.

(d)     This Guaranty and the obligations of Guarantor hereunder shall be valid and enforceable and shall
        not be subject to any limitation, impairment or discharge for any reason (other than indefeasible
        payment in full of the Obligations and as otherwise set forth in this Guaranty), including, without
        limitation, the occurrence of any of the following, whether or not Guarantor shall have had notice
        or knowledge of any of them: (A) any failure to assert or enforce, or agreement not to assert or
        enforce, or the stay or enjoining, by order of court, by operation of law or otherwise, of the
        exercise or enforcement of, any claim or demand or any right, power or remedy with respect to
        the Obligations or any agreement relating thereto, or with respect to any other guaranty of or
        security for the payment of the Obligations; (B) any waiver, amendment or modification of, or
        any consent to departure from, any of the terms or provisions of the Agreements or any
        agreement or instrument executed pursuant thereto or of any other guaranty or security for the
        Obligations; (C) the Obligations, or any agreement relating thereto, at any time being found to be
        illegal, invalid or unenforceable in any respect; (D) the personal or corporate incapacity of
        Obligor or any other person; (E) the bankruptcy, receivership or insolvency of Obligor or any
        other person, or the discharge of Obligor or any other person’s obligations in any bankruptcy,
        receivership or similar proceeding; (F) any merger or consolidation of Obligor or Guarantor into
        or with any other person, or any sale, lease or transfer of any of the assets of Obligor or Guarantor
        to any other person, (G) any change in the ownership of any interests of Obligor or any change in
        the relationship between Obligor and Guarantor, or any termination of such relationship or (H)
        any other act or thing or omission, or delay to do any other act or thing, which may or might in
        any manner or to any extent vary the risk of Guarantor as an obligor in respect of the Obligations.

(e)     Guarantor’s liability under this Guaranty shall be irrespective of the waivers and consents above.

7.      REINSTATEMENT. Guarantor agrees that this Guaranty shall continue to be effective or shall
be reinstated, as the case may be, if all or any part of any payment made hereunder is at any time avoided
or rescinded or must otherwise be restored or repaid by Counterparty as a result of the bankruptcy,
insolvency, reorganization, moratorium, dissolution or liquidation of Obligor, all as though such
payments had not been made.

8.      TERMINATION. This Guaranty and the Guarantor’s obligations hereunder will terminate
automatically and immediately upon the termination or expiration of all Agreements; provided, however,
that no such termination or expiration shall affect Guarantor’s liability with respect to any Obligation
incurred prior to the time the termination is effective, which Obligation shall remain subject to this
Guaranty.

9.       NOTICE. Any Payment Demand, notice, request, instruction, correspondence or other document
to be given hereunder (herein collectively called “Notice”) by Counterparty to Guarantor, or by Guarantor
to Counterparty, as applicable, shall be in writing and may be delivered either by (i) U.S. certified mail
with postage prepaid and return receipt requested, or (ii) recognized nationwide courier service with
delivery receipt requested, in either case to be delivered to the following address (or to such other U.S.
address as may be specified via Notice provided by Guarantor or Counterparty, as applicable, to the other
in accordance with the requirements of this Section 9):

      TO GUARANTOR: *                                         TO COUNTERPARTY:*


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                                                            Midship Pipeline Company, LLC
      __________________
                                                            c/o Cheniere Energy, Inc.
      __________________
                                                            700 Milam Street, Suite 1900
      __________________
                                                            Houston, Texas 77002
      Attn: _________
                                                            Attn: Treasurer

      [Tel: (___) ___-___ -- for use in                      Tel: (713) 375-5000 -- for use in
      connection with courier deliveries]                    connection with courier deliveries


            *   (NOTE: Copies of any Notices to Counterparty under this Guaranty shall also be sent to
                Credit Risk Management at collateral@cheniere.com or 713-375-6170 and to Legal
                Department c/o Cheniere Energy, Inc. at 700 Milam Street, Suite 1900, Houston, Texas
                77002. However, such transmissions shall not be deemed effective for delivery purposes
                under this Guaranty.)

Any Notice given in accordance with this Section 9 will (i) if delivered during the recipient’s normal
business hours on any given Business Day, be deemed received by the designated recipient on such date,
and (ii) if not delivered during the recipient’s normal business hours on any given Business Day, be
deemed received by the designated recipient at the start of the recipient’s normal business hours on the
next Business Day after such delivery.

10.    MISCELLANEOUS.

(a)    This Guaranty shall in all respects be governed by, and construed in accordance with, the law of
       the State of New York, without regard to principles of conflicts of laws thereunder (other than
       Section 5-1401 and 5-1402 of the New York General Obligations Law).

(b)    This Guaranty shall be binding upon Guarantor and its successors and permitted assigns and inure
       to the benefit of and be enforceable by Counterparty and its successors and permitted assigns.
       Guarantor may not assign this Guaranty in part or in whole without the prior written consent of
       Counterparty.

(c)    This Guaranty embodies the entire agreement and understanding between Guarantor and
       Counterparty and supersedes all prior agreements and understandings relating to the subject
       matter hereof.

(d)    The headings in this Guaranty are for purposes of reference only, and shall not affect the meaning
       hereof. Words importing the singular number hereunder shall include the plural number and vice
       versa, and any pronouns used herein shall be deemed to cover all genders. The term “person” as
       used herein means any individual, corporation, partnership, joint venture, association, joint-stock
       company, trust, unincorporated association, or government (or any agency or political subdivision
       thereof).

(e)    Wherever possible, any provision in this Guaranty which is prohibited or unenforceable in any
       jurisdiction shall, as to such jurisdiction, be ineffective only to the extent of such prohibition or
       unenforceability without invalidating the remaining provisions hereof, and any such prohibition
       or unenforceability in any one jurisdiction shall not invalidate or render unenforceable such
       provision in any other jurisdiction.


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(f)    Counterparty (by its acceptance of this Guaranty) and Guarantor each hereby irrevocably: (i)
       consents and submits to the exclusive jurisdiction of the United States District Court for the
       Southern District of New York, or if that court does not have subject matter jurisdiction, to the
       exclusive jurisdiction of the Supreme Court of the State of New York, New York County
       (without prejudice to the right of any party to remove to the United States District Court for the
       Southern District of New York) for the purposes of any suit, action or other proceeding arising
       out of this Guaranty or the subject matter hereof or any of the transactions contemplated hereby
       brought by Counterparty, Guarantor or their respective successors or assigns; and (ii) waives (to
       the fullest extent permitted by applicable law) and agrees not to assert any claim that it is not
       personally subject to the jurisdiction of the above-named courts, that the suit, action or
       proceeding is brought in an inconvenient forum, that the venue of the suit, action or proceeding is
       improper or that this Guaranty or the subject matter hereof may not be enforced in or by such
       court.

(g)    COUNTERPARTY (BY ITS ACCEPTANCE OF THIS GUARANTY) AND GUARANTOR
       EACH HEREBY IRREVOCABLY, INTENTIONALLY AND VOLUNTARILY WAIVES THE
       RIGHT TO TRIAL BY JURY WITH RESPECT TO ANY LEGAL PROCEEDING BASED ON,
       OR ARISING OUT OF, UNDER OR IN CONNECTION WITH, THIS GUARANTY, OR ANY
       COURSE OF CONDUCT, COURSE OF DEALING, STATEMENTS (WHETHER VERBAL
       OR WRITTEN) OR ACTIONS OF ANY PERSON RELATING HERETO OR THERETO.
       THIS PROVISION IS A MATERIAL INDUCEMENT TO GUARANTOR’S EXECUTION
       AND DELIVERY OF THIS GUARANTY.


                                   *               *                *


IN WITNESS WHEREOF, the Guarantor has executed this Guaranty on _____________, 20__, but it is
effective as of the Effective Date.




                                                [__________________]



                                                By:
                                                Name:
                                                Title:




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             EXHIBIT D TO PRECEDENT AGREEMENT

     FORM OF IRREVOCABLE STANDBY LETTER OF CREDIT




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                 [ISSUING BANK] IRREVOCABLE STANDBY LETTER OF CREDIT
                                          DATE OF ISSUANCE:
                                            [Date of issuance]

Midship Pipeline Company, LLC (“Beneficiary”)
c/o Cheniere Energy, Inc.
700 Milam Street, Suite 1900
Houston, Texas 77002

Attention: [Contact Person]

                 Re: [ISSUING BANK] Irrevocable Standby Letter of Credit No.________

Sirs/Mesdames:

We hereby establish in favor of Beneficiary (sometimes alternatively referred to herein as “you”) this
Irrevocable Standby Letter of Credit No. _______ (the “Letter of Credit”) for the account of [______] on
behalf of [_______], located at [______] (“Account Parties”), effective immediately and expiring on the
date determined as specified in numbered paragraphs 5 and 6 below.

We have been informed that this Letter of Credit is issued pursuant to the terms of that certain Precedent
Agreement, entered into as of March 15, 2017, by and between Beneficiary and Gulfport Energy Corporation

1.      Stated Amount. The maximum amount available for drawing by you under this Letter of Credit
shall be [written dollar amount] United States Dollars (US$[dollar amount]) (such maximum amount
referred to as the “Stated Amount”).

2.       Drawings. A drawing hereunder may be made by you on any Business Day on or prior to the date
this Letter of Credit expires by delivering to [ISSUING BANK], at any time during its business hours on such
Business Day, at [bank address] (or at such other address as may be designated by written notice delivered to
you as contemplated by numbered paragraph 9 hereof), a copy of this Letter of Credit together with (i) a
Draw Certificate executed by an authorized person substantially in the form of Attachment A hereto (the
“Draw Certificate”), appropriately completed and signed by your authorized officer (signing as such) and
(ii) your draft substantially in the form of Attachment B hereto (the “Draft”), appropriately completed and
signed by your authorized officer (signed as such). Partial drawings and multiple presentations may be made
under this Letter of Credit. Draw Certificates and Drafts under this Letter of Credit may be presented by
Beneficiary by means of facsimile or original documents sent by overnight delivery or courier to [ISSUING
BANK] at our address set forth above, Attention: ___________ (or at such other address as may be
designated by written notice delivered to you as contemplated by numbered paragraph 9 below). ). If
presentation is made by facsimile transmission, you must contact us at [insert phone number] to confirm
our receipt of the transmission. In the event of a presentation by facsimile transmission, the original of such
documents need not be sent to us.

3.       Time and Method for Payment. We hereby agree to honor a drawing hereunder made in
compliance with this Letter of Credit by transferring in immediately available funds the amount specified in
the Draft delivered to us in connection with such drawing to such account at such bank in the United States
as you may specify in your Draw Certificate. If the Draw Certificate is presented to us at such address by
12:00 noon, [_______] time on any Business Day, payment will be made not later than our close of business
on third succeeding business day and if such Draw Certificate is so presented to us after 12:00 noon,
[_______] time on any Business Day, payment will be made on the fourth succeeding Business Day. In
clarification, we agree to honor the Draw Certificate as specified in the preceding sentences, without regard
to the truth or falsity of the assertions made therein.
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4.      Non-Conforming Demands. If a demand for payment made by you hereunder does not, in any
instance, conform to the terms and conditions of this Letter of Credit, we shall give you prompt notice that
the demand for payment was not effectuated in accordance with the terms and conditions of this Letter of
Credit, stating the reasons therefor and that we will upon your instructions hold any documents at your
disposal or return the same to you. Upon being notified that the demand for payment was not effectuated in
conformity with this Letter of Credit, you may correct any such non-conforming demand.

5.       Expiration. This Letter of Credit shall automatically expire at the close of business on the date on
which we receive a Cancellation Certificate in the form of Attachment C hereto executed by your authorized
officer and sent along with the original of this Letter of Credit and all amendments (if any).

6.       Initial Period and Automatic Rollover. The initial period of this Letter of Credit shall terminate on
[one year from the issuance date] (the “Initial Expiration Date”). The Letter of Credit shall be
automatically extended without amendment for one (1) year periods from the Initial Expiration Date or any
future expiration date, unless at least thirty (30) days prior to any such expiration date we send you notice by
registered mail or courier at your address first shown (or such other address as may be designated by you as
contemplated by numbered paragraph 9) that we elect not to consider this Letter of Credit extended for any
such additional one year period.

7.      Business Day. As used herein, “Business Day” shall mean any day on which commercial banks are
not authorized or required to close in the State of [New York], and inter-bank payments can be effected on
the Fedwire system.

8.   Governing Law. THIS LETTER OF CREDIT IS GOVERNED BY, AND CONSTRUED
IN ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK, AND, EXCEPT AS
OTHERWISE EXPRESSLY STATED HEREIN, TO THE INTERNATIONAL STANDBY
PRACTICES, ICC PUBLICATION NO. 590 (THE “ISP98”), AND IN THE EVENT OF ANY
CONFLICT, THE LAWS OF THE STATE OF NEW YORK WILL CONTROL, WITHOUT
REGARD TO PRINCIPLES OF CONFLICT OF LAWS.

9.      Notices. All communications to you in respect of this Letter of Credit shall be in writing and shall
be delivered to the address first shown for you above or such other address as may from time to time be
designated by you in a written notice to us. All documents to be presented to us hereunder and all other
communications to us in respect of this Letter of Credit, which other communications shall be in writing,
shall be delivered to the address for us indicated above, or such other address as may from time to time be
designated by us in a written notice to you.

10.     Irrevocability. This Letter of Credit is irrevocable.

11.     Complete Agreement. This Letter of Credit sets forth in full our undertaking, and such undertaking
shall not in any way be modified, amended, amplified or limited by reference to any document, instrument or
agreement referred to herein, except for the ISP98 and Attachment A, Attachment B and Attachment C hereto
and the notices referred to herein and any such reference shall not be deemed to incorporate herein by
reference any document, instrument or agreement except as set forth above.

                                      *                *                *

                                                  Sincerely,

                                                  [ISSUING BANK]
                                                  ____________________________


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                            By: ________________________
                            Title: _______________________
                            Address:




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                                             ATTACHMENT A

                                    FORM OF DRAW CERTIFICATE


The undersigned hereby certifies to [ISSUING BANK] (“Issuer”), with reference to Irrevocable Letter of
Credit No. ________________ (the “Letter of Credit”) issued by Issuer in favor of the undersigned
(“Beneficiary”), as follows:

(1)      The undersigned is the ____________ of Beneficiary and is duly authorized by Beneficiary to
         execute and deliver this Certificate on behalf of Beneficiary.

(2)      Pursuant to that certain Precedent Agreement dated March 15, 2017, between Beneficiary and
         [Gulfport Energy Corporation], Beneficiary hereby makes demand against the Letter of Credit by
         Beneficiary’s presentation of the draft accompanying this Certificate, for payment of
         _______________________ U.S. dollars (US$__________), which amount, when aggregated
         together with any additional amount that has not been drawn under the Letter of Credit, is not in
         excess of the Stated Amount (as in effect of the date hereof).

(3)      The conditions for a drawing by Beneficiary are pursuant to [describe the draw conditions from the
         underlying agreement].

(4)      The amount demanded hereby represents funds due and owing by the Applicant and said amount has
         not been previously paid. The amount demanded hereby, when received, will be used to satisfy the
         funds due and owing by the Applicant.

(5)      You are hereby directed to make payment of the requested drawing to: (insert wire instructions)

                 Beneficiary Name and Address:




(6)      Capitalized terms used herein and not otherwise defined herein shall have the respective meanings
         set forth in the Letter of Credit.



MIDSHIP PIPELINE COMPANY, LLC



By:

Title:

Date:




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                                      ATTACHMENT B

         DRAWING UNDER IRREVOCABLE LETTER OF CREDIT NO. _________________




Date:



PAY TO:       Midship Pipeline Company, LLC


U.S.$ ___________________



FOR VALUE RECEIVED AND CHARGE TO THE ACCOUNT OF LETTER OF CREDIT NO.
__________________.




MIDSHIP PIPELINE COMPANY, LLC



By:

Title:

Date:




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                                               ATTACHMENT C

                                     CANCELLATION CERTIFICATE



Irrevocable Letter of Credit No. _______________



The undersigned, being authorized by the undersigned (“Beneficiary”), hereby certifies on behalf of
Beneficiary to [ISSUING BANK] (“Issuer”), with reference to Irrevocable Letter of Credit No.
______________ issued by Issuer to Beneficiary (the “Letter of Credit”), that [______] is not currently
required to post the Letter of Credit under that certain Precedent Agreement, entered into as of March ___,
2017, by and between Beneficiary and [__________],.

Pursuant to Section 5 thereof, the Letter of Credit shall expire upon Issuer’s receipt of this certificate.

Capitalized terms used herein and not otherwise defined herein shall have the respective meanings set forth
in the Letter of Credit.



MIDSHIP PIPELINE COMPANY, LLC



By:

Title:

Date:




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                      EXHIBIT E TO PRECEDENT AGREEMENT

                         ILLUSTRATIVE MILESTONE DATES


Milestone                     Start                  Completion
Pre-Filing                    November 2016          April 2017
Open Season                   March 2017             March 2017
FERC Certificate Review       April 2017             April 2018
Pipe Order                    May - September 2017
Compressor Order              June 2017
FERC NTP                      May 2018
Construction                  May 2018               April 2019
Initial Service to NGPL 801   November 2018          March 2019
Commissioning                 February 2019          April 2019
In-Service                    April 2019




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             EXHIBIT F TO PRECEDENT AGREEMENT

                     FORM OF OPEN SEASON




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                            MIDSHIP PIPELINE COMPANY, LLC
                                NOTICE OF BINDING OPEN SEASON
                                  March 16, 2017 – March 29, 2017


PROJECT OVERVIEW

Midship Pipeline Company, LLC (“Midship”) is pleased to announce the commencement of a
binding Open Season for firm transportation capacity of up to 1,400,000 Dekatherms per day on
a new interstate natural gas pipeline project to be developed by Midship (the “Midship Project”).
This project will connect production from the emerging Sooner Trend Anadarko Basin Canadian
and Kingfisher (“STACK”) and South Central Oklahoma Oil Province (“SCOOP”) plays in the
Anadarko Basin to growing Gulf Coast and Southeast markets. Current infrastructure cannot
accommodate the anticipated production growth from this region. The growing demand within
the U.S. Gulf Coast and Southeast supports the movement of gas southward and eastward to
serve expanding demand, including Liquefied Natural Gas (“LNG”) exports.

Midship has entered into binding precedent agreements with Foundation Shippers and is
committed to building the Midship Project.1 Midship is seeking additional binding
commitments from interested shippers to execute a Transportation Precedent Agreement
(“TPA”) for transportation service on the Midship Project. In order to obtain firm transportation
capacity on the Midship Project during this binding Open Season, shippers must execute a
binding TPA, which will be provided to interested Foundation Shippers upon receipt of an
executed Confidentiality Agreement. The binding commitments submitted in connection with
this binding Open Season (including, without limitation, the rates proposed as well as the receipt
and delivery points preferred by bidders) will be included in determining, in Midship’s sole
discretion, the optimal size and design of the Midship Project.

The Midship Project will transport gas out of the SCOOP and STACK to access desirable
markets via deliveries to existing market hubs such as TexOk near Atlanta, Texas and Perryville,
Louisiana. As currently contemplated, the Midship Project is comprised of two zones:

                 Zone 1 – Will consist of approximately 198 miles of 36-inch-diameter new build
                  pipeline that will begin at or near the Okarche Processing Plant near Okarche,
                  Oklahoma and end at Bennington, Oklahoma. The proposed new build facilities
                  will include a total of three (3) compressor stations, eight (8) receipt meters,
                  depending on shipper interest and the following two (2) laterals:

                      -    Chisholm Lateral – approximately 20 miles of 30-inch-diameter new build
                           pipeline that will begin at the Chisholm Processing Plant in Kingfisher
                           County and end on the mainline of the Midship project near the Okarche
                           Processing Plant.

1
  MidShip is committed as of the launch of this Open Season to building Zone 1 of the Midship Project. The
inclusion of Zone 2 in the final Midship Project, consisting of the leased capacity described herein, will depend upon
the level of interest in proposed Zone 2 capacity in the Open Season, and determined at Midship’s sole discretion.


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                  -   Velma Lateral – approximately 13 miles of 12-inch-diamater new build
                      pipeline that will begin at the Velma Processing Plant in Stephens County
                      and connects to the Sholem Processing Plant ending in Garvin County.

              Zone 2 – Will consist of approximately 353 miles of pipeline capacity leased from
               the existing Midcontinent Express Pipeline and/or Gulf Crossing pipelines,
               operated by Kinder Morgan and Boardwalk Partners, respectively. The proposed
               leased capacity will begin at Bennington, Oklahoma and end near Tallulah,
               Louisiana. Depending on approval of the lease or leases, up to three (3) delivery
               meters are planned at Bennington to receive gas from Zone 1.

The scheduled in-service date for the Midship Project is early 2019.

CHARACTERISTICS OF SERVICE

Midship is offering Firm Transportation Service (“FTS”) from and to shipper-determined
Primary Receipt and Delivery locations.

MIDSHIP PROJECT MAP




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MIDSHIP POTENTIAL RECEIPT AND DELIVERY LOCATIONS

       Potential Receipts                                          Potential Deliveries
        - EnLink Chisholm Plant                                     - Lamar, Paris County, TX
        - DCP Okarche Plant                                         - MidContinent Express Pipeline,
        - MarkWest [Kingfisher] Plant                                  Bennington, OK
        - Oneok Canadian Valley Plant                               - Gulf Crossing Pipeline, Bennington,
                                                                       OK
        - EnLink Cana Plant
                                                                    - NGPL, Bennington, OK
        - WEX Grady Plant
                                                                    - NGPL TexOK, Cass County, TX
        - Targa Velma Plant
                                                                    - Perryville, LA
        - DCP Sholem Plant
                                                                    - Or others as requested by shipper and
        - ARM Midstream Kingfisher Plant                               approved by Midship
        - Enable Calumet Plant
        - DCP Chitwood Plant
        - Enable Cox City Plant
        - Enable Bradley Plant
        - Enable Wildhorse Plant
        - Or others as requested by shipper
            and approved by Midship


TRANSPORTATION RATES

             Recourse Rates2 will be established once the final scope defining the Midship Project
              has been determined. The final scope will be based on shipper commitments and
              Midship’s determination of the economic viability of providing FTS from the desired
              Receipt Points to the Delivery Points. For purposes of this Open Season, the
              maximum recourse reservation rates are currently expected to be as follows:
              $0.42/Dth – $0.45/Dth.

             Negotiated Rates will be considered, including for shippers making commitment
              entitling them to status as Foundation Shippers (as further explained below). Terms
              of negotiated rates will feature potential rate-related incentives for Foundation
              Shippers as further explained below.

             All Rates will be reservation charge-based ($/Dth/day). Actual invoiced rates will
              include the addition of Annual Charge Adjustment (“ACA”) and any additional
              surcharges that are in effect pursuant to Midship’s FERC NGA Gas Tariff, which
              may be revised from time to time.

2
  Recourse Rates are subject to review and approval by the Federal Energy Regulatory Commission (“FERC”), and are subject to
revision from time to time thereafter pursuant to proceedings before the FERC under the Natural Gas Act.


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          Fuel and gas lost and unaccounted for (“FLAUF”) will be charged on volumes
           transported. Midship estimates FLAUF to be up to approximately 1.4% for Zone 1
           and approximately 0.6 to 1.0% for Zone 2, depending on the final scope and volumes
           transported, and length of haul on Zone 2.

FOUNDATION SHIPPER(S)

The Midship Project has secured commitments from subsidiaries and/or affiliates of Cheniere
Energy Inc., Devon Energy Corporation, Marathon Oil Corporation, and Gulfport Energy
Corporation, and certain of these parties have met the qualifications of "Foundation Shippers".

The aforementioned shippers have executed binding TPAs for capacity on the Midship Project.
The binding TPAs executed by these shippers have made it economic for Midship to commit to
building the Midship Project. These TPAs have been determined to be prearranged conforming
bids and the commitments of those shippers that have qualified as Foundation Shippers are not
subject to prorationing during this binding Open Season, consistent with the Foundation Shipper
benefits below.

Parties may submit binding bids for capacity commitments as either standard shippers or
Foundation Shippers.

       Foundation Shipper Qualifications and Incentives:

                 Any shipper committing to at least 175,000 Dth/d with a minimum term of 10
                  years at the recourse or an acceptable negotiated rate will be considered a
                  Foundation Shipper for all purposes hereunder, and under the TPA.

                 A Foundation Shipper will receive priority with regard to allocation of the
                  project capacity (if necessary, as described below).

                 Foundation Shippers will be entitled to more favorable rate-related terms
                  compared to standard shippers, including for FTS service and for interruptible
                  service that may be offered by Midship on a non-discriminatory basis prior to
                  the full in-service date of the Midship Project. For example, Foundation
                  Shippers will be entitled to negotiated rate adjustments in the event that
                  certain Midship Project capacity subscription benchmarks are met, as well as
                  negotiated reservation rate adjustments in the event of certain overrun and fuel
                  reimbursement events, as further detailed in a Foundation Shipper’s TPA.

                 A Foundation Shipper will also be entitled to an option to extend the primary
                  term of its transportation service agreement for up to two additional extension
                  terms of up to five (5) years each, at an amount up to its then-current
                  maximum daily quantity.




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                  Additionally, upon expiration of the primary term of a Shipper’s
                   transportation service agreement, a Foundation Shipper will be entitled to
                   request a negotiation on terms for a renewal of the transportation service
                   agreement, including negotiated rate, term, and path, and Midship will
                   negotiate the terms of such an extension subject to the terms of its FERC
                   NGA Gas Tariff.

                  Midship will include in the Foundation Shipper’s TPA a Most Favored
                   Nations (“MFN”) clause that will provide the Foundation Shipper with certain
                   benefits related to the negotiated reservation rate for firm service.

                  Foundation Shippers will be entitled to a Right of First Refusal at the
                   conclusion of their transportation service agreement term, in accordance with
                   the Tariff and notwithstanding their negotiated rates that may be below the
                   applicable maximum recourse rate.

                  Foundation Shippers will be entitled to certain rights to bid on and obtain
                   capacity in a future open season for expansion capacity on the Midship
                   Project, subject to applicable regulatory requirements.

                  Foundation Shippers will have certain rights to adjust their capacity
                   commitments during a defined period of time following the close of this
                   binding Open Season and prior to the commencement of service, subject to
                   capacity availability, applicable regulatory requirements, and certain other
                   parameters as further explained in a Foundation Shipper’s TPA.


BINDING OPEN SEASON DATES

This binding Open Season will commence at 9:00 a.m. (CDT) on Thursday, March 16, 2017 and
end at 3:00 p.m. (CDT) on Wednesday, March 29, 2017.

Midship reserves the right, upon notice and in its sole discretion, at any time during this binding
Open Season to terminate this binding Open Season or to extend this binding Open Season
period.

Questions regarding this binding Open Season should be directed to Michael Manteris, Sr.
Director Business Development, at midshipopenseason@cheniere.com or (713) 375-5370.




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BINDING OPEN SEASON DOCUMENTS AND BID PROCESS

Any shipper desiring firm transportation service under the Midship Project must, on or before
3:00 p.m. (CDT) on Wednesday, March 29, 2017 (or such later date as may be announced by
Midship): (i) complete and submit to Midship the Binding Bid for Firm Transportation Service
request form (“Binding Bid Form”) attached hereto as Attachment A; and (ii) provide Midship
with an executed Confidentiality Agreement, attached hereto as Attachment B. The Binding Bid
Form must include shipper name, contact information of the person completing the form, the
desired maximum daily transportation quantity (“MDTQ”), contract term, receipt and delivery
points maximum daily quantity (“MDQ”), and desired reservation rate for the term of the
agreement. Upon receipt of the executed Binding Bid Form and Confidentiality Agreement,
Miship will provide the form of TPA applicable to each shipper’s desired commitment level.

All Binding Bid Forms and Confidentiality Agreements may be submitted to Michael Manteris,
Sr. Director Business Development, at midshipopenseason@cheniere.com.

CREDIT

A shipper will generally be deemed creditworthy if at all times from the effective date of its TPA
and throughout the term of its TPA if it maintains a long-term senior unsecured debt rating from
both (1) Moody’s Investor Service, Inc., or applicable successor agency (“Moody’s”) of Baa3 or
higher and (2) Standards & Poor’s or is successor agency (“S&P”) of BBB- or higher, in the
event both ratings are available; provided in that order to be deemed creditworthy under the
preceding sentence. Shipper must maintain both of the aforementioned ratings. Alternatively,
Shipper may be accepted as creditworthy by Transporter if Transporter determines that,
notwithstanding the failure to meet or maintain the rating requirements as stated herein, the
financial position of Shipper (or an entity that guarantees all of Shipper’s payment obligations) is
and remains reasonably acceptable to Transporter during the term of this Agreement and the
Service Agreement. Different creditworthiness terms and credit support obligations may be
agreed upon with Foundation Shippers on a non-discriminatory basis.

Non-creditworthy shippers will be required to provide credit assurances in the form of: (i) an
irrevocable standby letter of credit from a Qualified Institution; (ii) a guaranty from an entity that
is creditworthy under the standards applicable to Shipper as set forth above; (iii) a cash security
deposit to be placed in a third party escrow account pursuant to a form of escrow agreement to be
negotiated in good faith and executed and delivered by the parties and the relevant third party
escrow agent; or (iv) a mutually agreeable alternative form of credit assurance. Additional
and/or different terms of credit support and creditworthiness determinations may be considered
on a non-discriminatory basis depending on an evaluation of a particular shipper’s credit profile,
including with respect to Foundation Shippers.

RESPONSE TO BIDS IN THE BINDING OPEN SEASON

All shippers who submit a Binding Bid Form will be contacted following close of the binding
Open Season with an indication of whether or not capacity will be awarded. Shippers will have
thirty (30) days to execute a TPA if one has not already been executed.



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AWARDING OF CAPACITY

Midship will award the transportation capacity using the method outlined here:

      Midship will award transportation capacity to those making bids other than Foundation
       Shippers, based on the highest net present value (“NPV”) of each bid per unit of
       capacity. A ratable allocation (or proration) will be utilized for non-Foundation Shippers
       in the event that the aggregate amount of bids exceeds the project capacity.

Midship estimates that a term commitment of at least ten (10) years will be required to support
the Project. Any bid with a minimum term of less than ten years will be non-conforming, but
will be considered based on NPV.

If a successful bidder fails to execute a TPA in the allotted time, the awarded capacity will be
awarded to the next highest NPV bidder.

LIMITATIONS

Midship reserves the right to not accept any conditions for bids submitted during this binding
Open Season. Midship reserves the right to discontinue or modify the terms of this binding
Open Season or the scope of the Midship Project at any time regardless of request for service
received, in its sole discretion. Midship’s decision to proceed with the Project is at its sole
discretion and is subject to receiving a sufficient level of capacity subscriptions, obtaining the
necessary governmental authorizations to construct and operate Midship, and other conditions as
set forth in the form of Transportation Precedent Agreement.




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                                                                                  Attachment A


                     MIDSHIP PIPELINE COMPANY, LLC
              BINDING BID FOR FIRM TRANSPORTATION SERVICE
      PLEASE RETURN THIS BINDING BID FORM BY 3:00 P.M. (CST) ON WEDNESDAY, MARCH 29, 2017

A.   Shipper Name:

     Contact Person: __________________________
     Title: ____________________________________
     Address: ________________________________
     Courier Address: _________________________
     Telephone: ______________________________
     E-Mail Address: __________________________

B.   Service Type: Firm Transportation Service (FTS)

C.   Primary Term of Service:               years (from the In-Service date)

D.   Maximum Daily Transportation Quantity (MDTQ):                               Dth/d

E.   Primary Receipt / Delivery Point(s):

                                                                  Requested
                        Primary Receipt Point(s)                  Quantity
                                                                  (Dth/d)




                                                   Total

                                                                  Requested
                       Primary Delivery Point(s)                   Quantity
                                                                   (Dth/d)




                                                   Total




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                                                                                    Attachment A


F.   Reservation Rate for Zone 1:

           1. Recourse Reservation Rate, Maximum Tariff Rate ______ (check if applicable),
               Or
           2. Proposed Negotiated Reservation Rate ($/Dth/d): __________________ (insert
              rate if applicable)

G.   Reservation Rate for Zone 2:

           1. Recourse Reservation Rate, Maximum Tariff Rate ______ (check if applicable),
               Or
           2. Proposed Negotiated Reservation Rate ($/Dth/d): __________________ (insert
              rate if applicable)

     ACA, fuel and lost and unaccounted for gas (“FLAUF”) and any other authorized
     surcharge will be in addition to the Shipper’s bid rate. Midship estimates that the retainage
     for fuel, lost and unaccounted for gas will be approximately 1.4% for Zone 1 and
     approximately 0.6 to 1.0% for Zone 2, depending on the final scope and volumes
     transported, and length of haul on Zone 2.

H.   Partial Award of Capacity:

     Please indicate whether Shipper is willing to accept a partial award of capacity in the event
     there is a tie and 100% of your bid cannot be awarded.

       Yes ______     No _______

       If Yes, please state the minimum percentage acceptable: _____

Shipper understands that this Binding Bid Form, complete and unrevised as to format, must be
received by Midship before the transportation request will be accepted and processed.

Shipper, by its signature, represents to Midship that the information above and accurate.


                                                     __________________________________
                                                     Signature
                                                     __________________________________
                                                     Printed Name and Title

                                                     Telephone No. ______________________

                                                     Fax No. ___________________________

                                                     Email: ____________________________


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                       EXHIBIT G TO PRECEDENT AGREEMENT

                          DESCRIPTION OF PROJECT AND MAP

 (In the event of any inconsistency between the description set forth in this Exhibit G and
      the attached map, the description set forth in this Exhibit G shall be controlling
                                       in all respects)

Project Description

Mainline - Approximately 189 miles of 36” and 7 miles of 30” mainline pipeline capable of
moving up to 900,000 – 1,000,000 Dth/d from the STACK and any additional volume required
from the SCOOP, until the maximum pipeline capacity of 1,400,000 Dth/d is reached from the
Receipt Points to the Delivery Points listed below. Transporter shall be obligated to receive gas
deliveries from Shipper that meet the specifications stated below for each Receipt Point.
Transporter shall regulate pressure on the system to ensure that Transporter will be able to accept
the volumes nominated by Shipper at the Receipt Points at pressure levels not to exceed the
maximum pressure level as noted for each Receipt Point below. In the event that Transporter is
unable to receive Shipper’s gas at any Receipt Point due to pressures exceeding the maximum
pressures noted below for that Receipt Point and, therefore, is unable to provide Firm Service,
the Reservation Charge Credits would apply in accordance with Section 5.1.9 of Transporter’s
Rate Schedule FTS or Section 6.8(E) of Transporter’s General Terms and Conditions.




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Laterals

      Chisholm Lateral – Approximately 26.5 miles of 24” pipeline capable of moving up to
       500,000 Dth/d
      Cana Lateral – Approximately 2.5 miles of 24” pipeline capable of moving
       approximately 400,000 Dth/d
      Velma Lateral – approximately 14 miles of 12” pipeline capable of moving up to 110,000
       Dth/d

Compression

      Compressor Station 1
         o Milepost 17.5
         o Installed Horsepower up to 18,390
      Compressor Station 2
         o Milepost 98.9
         o Installed Horsepower up to 29,305
      Compressor Station 3
         o Milepost 197.9
         o Installed Horsepower up to 34,090




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Receipt Points1

       Enlink Chisholm
           o Meter Capacity – 500 MMCFD
           o Chromatograph
           o Flow Control
           o Ultrasonic measurement with EFM and DAS capabilities
           o Shipper shall not be required to deliver above 1100 psig
           o Transporter shall not operate the receipt point at a pressure higher than 1100 psig
               unless mutually agreed upon by both parties
       Oneok Canadian Valley
           o Meter Capacity – 300 MMCFD
           o Chromatograph
           o Flow Control
           o Ultrasonic measurement with EFM and DAS capabilities
           o Shipper shall not be required to deliver above 1100 psig
           o Transporter shall not operate the receipt point at a pressure higher than 1100 psig
               unless mutually agreed upon by both parties
       Enlink Cana
           o Meter Capacity – 400 MMCFD
           o Chromatograph
           o Flow Control
           o Ultrasonic measurement with EFM and DAS capabilities
           o Shipper shall not be required to deliver above 1000 psig
           o Transporter shall not operate the receipt point at a pressure higher than 1000 psig
               unless mutually agreed upon by both parties
       WEX Grady
           o Meter Capacity – 350 MMCFD
           o Chromatograph
           o Flow Control
           o Ultrasonic measurement with EFM and DAS capabilities
           o Shipper shall not be required to deliver above 1150 psig
           o Transporter shall not operate the receipt point at a pressure higher than 1150 psig
               unless mutually agreed upon by both parties
       Targa Velma
           o Meter Capacity – 110 MMCFD
           o Chromatograph
           o Flow Control

1
 Transporter will have in place an appropriate Operational Balancing Agreement with each relevant Receipt Point
operator on or prior to the Commencement Date.

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             o Ultrasonic measurement with EFM and DAS capabilities
             o Shipper shall not be required to deliver above 850 psig
             o Transporter shall not operate the receipt point at a pressure higher than 850 psig
               unless mutually agreed upon by both parties

Delivery Points2

       MEP Bennington
           o Meter Capacity – 1,000 MMCFD
           o Chromatograph
           o Flow Control
           o Ultrasonic measurement with EFM and DAS capabilities
           o Transporter Maximum Delivery Pressure Obligation – 1320 psig
       Gulf Crossing Bennington
           o Meter Capacity – 1,000 MMCFD
           o Chromatograph
           o Flow Control
           o Ultrasonic measurement with EFM and DAS capabilities
           o Transporter Maximum Delivery Pressure Obligation – 1320 psig
       NGPL Bennington
           o Meter Capacity – 250 MMCFD
           o Flow Control
           o Ultrasonic measurement with EFM and DAS capabilities
           o Transporter Maximum Delivery Pressure Obligation – 1100 psig
       NGPL 801
           o Meter Capacity – 300 MMCFD
           o Flow Control
           o Ultrasonic measurement with EFM and DAS capabilities
           o Transporter Maximum Delivery Pressure Obligation - _______ psig




2
 Transporter will have in place an appropriate Operational Balancing Agreement with each relevant Delivery Point
operator on or prior to the Commencement Date.

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